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                  IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                              ROME DIVISION


  EARL PARRIS, JR.
  Individually, and on behalf of a Class of
  persons similarly situated,


       Plaintiff,

             v.                               CIVIL ACTION FILE
                                              NO. 4:21-CV-40-TWT
  3M COMPANY, et al.,



       Defendants.


                           OPINION AND ORDER



      This is a water pollution case. It is before the Court on Proposed

Intervenor-Plaintiff City of Summerville’s Amended Motion to Intervene [Doc.

84], Defendant Daikin America, Inc.’s Motion to Dismiss [Doc. 86], Defendant

Mount Vernon Mills, Inc.’s Motion to Dismiss [Doc. 87], Defendant Ryan

Dejuan Jarrett’s Motion to Dismiss [Doc. 88], Defendant 3M Company’s Motion

to Dismiss [Doc. 89], Defendant Town of Trion’s Motion to Dismiss [Doc. 90],

Defendant Huntsman International, LLC’s Motion to Dismiss [Doc. 91],

Defendant Pulcra Chemicals, LLC’s Motion to Dismiss [Doc. 92], the Plaintiff’s

Motion for Leave to File Sur-Reply [Doc. 114], and Defendant 3M Company
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and Daikin America, Inc.’s Motion to Strike [Doc. 128]. For the reasons set

forth below, the Court GRANTS Proposed Intervenor-Plaintiff City of

Summerville’s Amended Motion to Intervene [Doc. 84], DENIES Defendant

Daikin America, Inc.’s Motion to Dismiss [Doc. 86], GRANTS in part and

DENIES in part Defendant Mount Vernon Mills, Inc.’s Motion to Dismiss [Doc.

87], DENIES Defendant Ryan Dejuan Jarrett’s Motion to Dismiss [Doc. 88],

DENIES Defendant 3M Company’s Motion to Dismiss [Doc. 89], DENIES

Defendant Town of Trion’s Motion to Dismiss [Doc. 90], DENIES Defendant

Huntsman International, LLC’s Motion to Dismiss [Doc. 91], DENIES

Defendant Pulcra Chemicals, LLC’s Motion to Dismiss [Doc. 92], DENIES as

moot the Plaintiff’s Motion for Leave to File Sur-Reply [Doc. 114], and DENIES

Defendant 3M Company and Daikin America, Inc.’s Motion to Strike [Doc.

128].

                               I.   Background

        This case arises out of the contamination of surface waters and drinking

water in Chattooga County, Georgia, with per- and polyfluoroalkyl substances,

known as “PFAS.” (Am. Compl. ¶ 1.) PFAS are a group of synthetic chemicals

that have been used since the 1940s in a wide array of industrial and

commercial applications. (Id. ¶¶ 38, 39, 55.) Their commercial usefulness is the

product of strong carbon-fluorine bonds, which make PFAS highly stable, oil-

and water-repellant, and resistant to heat and chemical reactions. (Id. ¶ 38.)

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However, these same properties also make PFAS persistent in the

environment, with no known natural processes to break them down. (Id. ¶¶ 38,

39.) PFAS are also highly mobile and water soluble and can leach from soil into

groundwater, making groundwater and surface waters particularly vulnerable

to contamination. (Id.) Once in the environment, these chemicals are absorbed

into biota, ingested by humans via drinking water, and bioaccumulate with

repeated exposure. (Id. at ¶¶ 39, 41.) As PFAS build up and distribute

throughout the human body, they can cause long-term physiologic alterations

and damage to the blood, liver, kidneys, immune system, and other organs. (Id.

¶ 41.) Some of the human diseases associated with PFAS exposure include

immunotoxicity, cancer, thyroid disease, ulcerative colitis, and high

cholesterol. (Id. ¶ 42.)

       The Plaintiff Earl Parris, Jr., is a resident of Summerville, Georgia, who

receives running, potable water to his home from the Summerville Public

Works and Utilities Department. (Id. ¶ 21.) Summerville uses Raccoon Creek,

a tributary of the Chattooga River, as the main source of its municipal water

supply. (Id.) But the Plaintiff alleges that Raccoon Creek—and consequently

his household water—has been contaminated with PFAS by the Defendants.

(Id.) According to the First Amended Complaint (“Complaint”), the

contamination started with four corporations referred to collectively as the

“Manufacturing Defendants”: 3M Company (“3M”), Daikin America, Inc.

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(“Daikin”),   Huntsman    International,   LLC   (“Huntsman”),     and   Pulcra

Chemicals, LLC (“Pulcra”). Allegedly, the Manufacturing Defendants have for

decades manufactured and supplied the PFAS that are being discharged into

Raccoon Creek and pumped into the Summerville water system. (Id. ¶¶ 5, 29-

33, 63, 68.) The Plaintiff asserts that the Manufacturing Defendant have long

known about the risks associated with the use and disposal of PFAS. (Id. ¶¶

55-72.)

      The next stop in the flow of PFAS is Defendant Mount Vernon Mills, Inc.

(“Mount Vernon”). Mount Vernon is a South Carolina corporation that has

owned and operated a textile mill in Trion, Georgia, for at least 35 years. (Id.

¶¶ 24, 33.) During this time, Mount Vernon has purchased products containing

PFAS, including Perfluorooctanesulfonic Acid (“PFOS”) and Perfluorooctanoic

Acid (“PFOA”), from the Manufacturing Defendants to make water- and stain-

resistant fabrics. (Id. ¶¶ 33, 34, 63, 68.) The PFAS used at the mill is

discharged via wastewater into the Trion Water Pollution Control Plant

(“Trion WPCP”), which is owned and operated by Defendant Town of Trion

(“Trion”) pursuant to a National Pollutant Discharge Elimination System

(“NPDES”) permit. (Id. ¶¶ 33-35, 37.) However, the Trion WPCP is not capable

of degrading the PFAS in Mount Vernon’s wastewater, so these chemicals end

up being discharged as effluent into the Chattooga River or applied as sludge

to land in the Raccoon Creek watershed. (Id.) Since 1992, Trion has disposed

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of nearly 8,000 tons of PFAS-contaminated sludge in the watershed, including

on property owned by Defendant Ryan Dejuan Jarrett (“Jarrett”). (Id. ¶ 36.)

      Between November 2019 and December 2020, the United States

Environmental Protection Agency (“EPA”) and the Environmental Protection

Division of the Georgia Department of Natural Resources (“EPD”) repeatedly

discovered high levels of PFAS, including PFOA, PFOS, and short-chain PFAS,

in Raccoon Creek. (Id. ¶¶ 74-78.) PFAS was also found in Summerville’s

treated water in January 2020; at 98 parts per trillion (“ppt”), the combined

PFOA and PFOS levels in the water exceeded the EPA Drinking Water Health

Advisory and other federal, state, and independent guidelines. (Id. ¶ 79.) Based

on these sampling results, Summerville notified its water users to stop

drinking or cooking with municipal water. (Id.) In October 2020, Summerville

installed a temporary treatment system consisting of a pit in the ground filled

with granulated activated carbon. (Id. ¶ 82.) Samples taken after installation,

though, continued to show PFOA and PFOS of 24 ppt and 15 ppt, respectively,

in treated water. (Id. ¶ 83.) According to the Complaint, Summerville’s

temporary treatment system is not effectively removing PFOA, PFOS, or short-

chain PFAS from the water supply and thus has not eliminated the health and

safety risk to the Plaintiff and other water users. (Id.)

      The Plaintiff attributes the contamination of Raccoon Creek and his

household water to Trion’s land application of PFAS-contaminated sludge. (Id.

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¶¶ 74, 87.) He further asserts that this threat is ongoing because Mount

Vernon continues to discharge high levels of PFAS into the Trion WPCP, and

because significant amounts of PFAS-contaminated sludge remain on

properties in the Raccoon Creek watershed. (Id. ¶¶ 34, 87.) All the while, the

Manufacturing Defendants have allegedly known that PFAS cannot be

removed from industrial wastewater by conventional treatment processes, and

that it is unsafe to dispose of PFAS through land application or effluent

discharges. (Id. ¶¶ 60, 61.) The Plaintiff cites a number of internal studies

conducted by the Manufacturing Defendants and their predecessors that found

PFAS to be persistent, mobile, bioaccumulative, and toxic. (Id. ¶¶ 54-59, 63-

69.) Allegedly, the Manufacturing Defendants communicated these findings

within the industry, including to PFAS users like Mount Vernon, but concealed

their knowledge from the public and government agencies. (Id. ¶¶ 70, 72.) In

any event, the persistence and toxicity of PFAS have been widely published

since at least 2000. (Id. ¶ 70.)

       Though not identified in the Complaint, multiple Defendants direct the

Court’s attention to a Consent Decree executed between the EPD and Trion on

April 13, 2020. (Trion’s Br. in Supp. of Trion’s Mot. to Dismiss, Ex. 2.)

Generally, a district court must convert a motion to dismiss into a motion for

summary judgment if it considers materials outside the complaint. Day v.

Taylor, 300 F.3d 1272, 1275-76 (11th Cir. 2005). However, the Court finds that

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the Consent Order is an exception to the rule because it is central to the

Plaintiff’s claims and its authenticity is undisputed. Id. at 1276. The Consent

Order states that

       the land application of biosolids (i.e., sludge) by [Trion] from the
       Trion WPCP at multiple locations in the Raccoon Creek
       Watershed in Chattooga County is contributing to the levels of
       PFOA and PFOS in Raccoon Creek and consequently in the
       finished water from the City of Summerville’s Raccoon Creek
       drinking water treatment plant[.]

(Trion’s Br. in Supp. of Trion’s Mot. to Dismiss, Ex. 2 at 6-7.) It further declares

that sludge disposal has contributed to violations of section 391-3-6-.03(5)(e) of

the Georgia Water Quality Rules, and requires, among other things, that Trion

“immediately cease land applying biosolids in the Raccoon Creek Watershed[.]”

(Id. at 7-8.)

       As a result of the contamination of Raccoon Creek and Summerville’s

water supply, the Plaintiff alleges that he and a proposed class of Summerville

water subscribers (“Proposed Class Members”) have suffered numerous

damages. (Am. Compl. ¶ 146.) Specifically, the Complaint seeks to recover for

personal property damages—based on harm to household water—and real

property damages—based on the diminution of property values, interference

with the use and enjoyment of property, and upset, annoyance, and

inconvenience. (Id. ¶¶ 88, 89.) The Plaintiff further alleges that he and the

Proposed Class Members have paid surcharges and rate increases to recoup

Summerville’s PFAS removal efforts, and have incurred expenses to obtain
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alternative water supplies. (Id. ¶ 90.) The Plaintiff raises four federal-law

claims on his own behalf under the Clean Water Act (“CWA”) and the Resource

Conservation and Recovery Act (“RCRA”) and six state-law claims on behalf of

the Proposed Class Members for negligence, negligence per se, negligent

failure to warn, wanton conduct and punitive damages, public nuisance, and

abatement of public nuisance. He requests compensatory damages as well as

an order to cease and remediate the sources of PFAS in Raccoon Creek and to

provide an effective treatment system for Summerville’s water supply. Now,

the Defendants move separately to dismiss all of the claims against them, and

the City of Summerville (“Summerville”) seeks to intervene as a plaintiff in

this case.

                            II.   Legal Standard

      A complaint should be dismissed under Federal Rule of Civil Procedure

12(b)(6) only where it appears that the facts alleged fail to state a “plausible”

claim for relief. Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009); Fed. R. Civ. P.

12(b)(6). A complaint may survive a motion to dismiss for failure to state a

claim, however, even if it is “improbable” that a plaintiff would be able to prove

those facts; even if the possibility of recovery is extremely “remote and

unlikely.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007). In ruling on a

motion to dismiss, the court must accept the facts pleaded in the complaint as

true and construe them in the light most favorable to the plaintiff. Quality

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Foods de Centro Am., S.A. v. Latin Am. Agribusiness Dev. Corp., S.A., 711 F.2d

989, 994-95 (11th Cir. 1983); see also Sanjuan v. American Bd. of Psychiatry &

Neurology, Inc., 40 F.3d 247, 251 (7th Cir. 1994) (noting that at the pleading

stage, the plaintiff “receives the benefit of imagination”). Generally, notice

pleading is all that is required for a valid complaint. Lombard’s, Inc. v. Prince

Mfg., Inc., 753 F.2d 974, 975 (11th Cir. 1985). Under notice pleading, the

plaintiff need only give the defendant fair notice of the plaintiff’s claim and the

grounds upon which it rests. Erickson v. Pardus, 551 U.S. 89, 93 (2007) (citing

Twombly, 550 U.S. at 555).

                              III.   Discussion

      In their Motions to Dismiss, the Defendants raise numerous defenses to

the Plaintiff’s claims—some common to all or multiple claims and others

specifically tailored to the elements of individual claims. This Order begins

with a discussion of the broadly applicable defenses, turns next to the claim-

specific defenses, and then closes by addressing Summerville’s Motion to

Intervene.

A. Defenses Common to All or Multiple Claims

      1. Sovereign Immunity

      In a less than one-page section, Trion argues that all of the claims

against it should be dismissed on sovereign immunity grounds. (Trion’s Br. in

Supp. of Trion’s Mot. to Dismiss, at 5.) According to Trion, municipal

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corporations are protected by sovereign immunity pursuant to Article IX,

Section II, Paragraph IX of the Georgia Constitution, unless that immunity is

waived by the General Assembly. (Id. at 5.) Trion also claims to be immune

from liability for damages insofar as the Plaintiff seeks litigation expenses,

remediation costs, or other monetary relief in his claims. (Id. at 6.) The Plaintiff

counters that his CWA and RCRA claims remain viable because both statutes

“expressly authorize citizen suits against municipalities like Trion,” and

because municipalities do not receive sovereign immunity under the Eleventh

Amendment of the United States Constitution. (Pl.’s Br. in Opp’n to Trion’s

Mot. to Dismiss, at 4-6.) The Plaintiff further reasons that his abatement claim

seeks only injunctive relief, not damages, and thus does not implicate Trion’s

purported immunity. (Id. at 6.)

      Under the “citizen suit” provisions of the CWA and RCRA, a private

individual “may commence a civil action on his own behalf—(1) against any

person (including (i) the United States, and (ii) any other governmental

instrumentality or agency to the extent permitted by the eleventh amendment

to the Constitution) who is alleged to be in violation of [the Act].” 33 U.S.C. §

1365(a)(1); see also 42 U.S.C. § 6972(a)(1)(B). In relevant part, a “person” is

defined as a “State, municipality, commission, or political subdivision of a

State, or any interstate body,” 33 U.S.C. § 1362(5); 42 U.S.C. § 6903(15), and a

“municipality” is further defined as a “city, town, borough, county, parish,

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district, association, or other public body created by or pursuant to State law

and having jurisdiction over disposal of sewage, industrial wastes, or other

wastes.” 33 U.S.C. § 1362(4); 42 U.S.C. § 6903(13). Even though the CWA and

RCRA specifically authorize citizen suits against states and municipalities,

their citizen suit provisions operate only “to the extent permitted by the

eleventh amendment to the Constitution.” 33 U.S.C. § 1365(a)(1); 42 U.S.C. §

6972(a)(1)(B). Based on this language, several courts have held that the

statutes “do not unequivocally express Congress’s intent to abrogate sovereign

immunity and subject states to suit.” Burnette v. Carothers, 192 F.3d 52, 57

(2d Cir. 1999) (collecting cases). Therefore, the Eleventh Amendment precludes

federal jurisdiction in citizen suits against unconsenting states.

      Trion contends that, like a state, it too is entitled to Eleventh

Amendment immunity because the Georgia Constitution confers sovereign

immunity on municipalities. (Reply Br. in Supp. of Trion’s Mot. to Dismiss, at

2-3.) What this argument fails to appreciate, however, is that “federal law, not

state law . . . ultimately governs whether an entity is immune under the

Eleventh Amendment.” Lightfoot v. Henry Cnty. Sch. Dist., 771 F.3d 764, 771

(11th Cir. 2014). Longstanding Supreme Court precedent makes clear that “the

bar of the Eleventh Amendment to suit in federal courts extends to States and

state officials in appropriate circumstances, but does not extend to counties

and similar municipal corporations.” Mt. Healthy City Sch. Dist. Bd. of Educ.

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v. Doyle, 429 U.S. 274, 280 (1977) (emphasis added) (citation omitted); see also

Lightfoot, 771 F.3d at 768 (noting the Eleventh Amendment “does not . . .

extend to counties, municipal corporations, or similar political subdivisions of

the state”). Nor does the Eleventh Amendment prevent an award of damages

against a municipality. Hutton v. Strickland, 919 F.3d 1531, 1542 (11th Cir.

1990). Accordingly, “the Court has consistently refused to construe the

Amendment to afford protection to political subdivisions such as counties and

municipalities, even though such entities exercise a slice of state power.” Hess

v. Port Auth. Trans-Hudson Corp., 513 U.S. 30, 43 (1994) (quotation marks

and citation omitted). In sum, Trion is not insulated from the Plaintiff’s CWA

and RCRA claims by its state-law sovereign immunity.1

      2. Article III Standing

      Jarrett and Trion move to dismiss the CWA and RCRA claims against

them on the grounds that the Plaintiff has not adequately pleaded Article III




      1   Trion also cannot rely on its state-law immunity as a defense to
liability under the CWA or RCRA. “Municipal defenses—including an
assertion of sovereign immunity—to a federal right of action are, of course,
controlled by federal law.” Abusaid v. Hillsborough Cnty. Bd. of Cnty. Comm’rs,
405 F.3d 1298, 1314-15 (11th Cir. 2005) (quoting Howlett v. Rose, 496 U.S. 356,
376 (1990)). “By including municipalities within the class of ‘persons’ subject
to liability for violations of [the CWA and RCRA], Congress—the supreme
sovereign on matters of federal law—abolished whatever vestige of the State’s
sovereign immunity the municipality possessed.” Id. at 1315 (quoting Howlett,
496 U.S. at 376).

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standing. (Jarrett’s Br. in Supp. of Jarrett’s Mot. to Dismiss, at 7-9, 11-12;

Mount Vernon’s Br. in Supp. of Mount Vernon’s Mot. to Dismiss, at 14-15.)

Jarrett contends that, because the Plaintiff is one of many people who consume

Summerville’s municipal water, there is no “particularized allegation of injury

different from the public at large sufficient to support standing.” (Jarrett’s Br.

in Supp. of Jarrett’s Mot. to Dismiss, at 7.) Jarrett and Trion further claim that

the Consent Order between the EPD and Trion has eliminated any “continuing

and redressable CWA violation to provide . . . standing to the Plaintiff[.]” ( Id.

at 9.) According to the Plaintiff, these arguments mischaracterize the

applicable requirements and burden to show standing at the pleading stage of

the litigation. (Pl.’s Br. in Opp’n to Jarrett’s Mot. to Dismiss, at 4.) He argues

that PFAS contamination causes a concrete, particularized injury to his

property interest in safe domestic water. (Id. at 5.) He also asserts that recent

sampling results and the continued presence of PFAS-contaminated sludge in

the watershed make out “a good faith allegation of ongoing CWA violations in

order for jurisdiction to attach.” (Id. at 9-10.)

       To satisfy Article III’s standing requirements,

       a plaintiff must show (1) it has suffered an “injury in fact” that is
       (a) concrete and particularized and (b) actual or imminent, not
       conjectural or hypothetical; (2) the injury is fairly traceable to the
       challenged action of the defendant; and (3) it is likely, as opposed
       to merely speculative, that the injury will be redressed by a
       favorable decision.


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Friends of the Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc., 528 U.S. 167,

180-81 (2000). “For an injury to be ‘particularized,’ it must affect the plaintiff

in a personal and individual way.” Spokeo, Inc. v. Robins, 578 U.S. 330, 339-40

(2016) (emphasis omitted). Importantly, “[t]he fact that an injury may be

suffered by a large number of people does not of itself make that injury a

nonjusticiable generalized grievance. The victims’ injuries from a mass tort,

for example, are widely shared, to be sure, but each individual suffers a

particularized harm.” Id. at 339 n.7. At the motion-to-dismiss stage, “general

factual allegations of injury resulting from the defendant’s conduct may

suffice” to demonstrate standing because those general allegations are

presumed to embrace the specific facts needed to support them. Lujan v.

Defenders of Wildlife, 504 U.S. 555, 561 (1992).

      As to the injury-in-fact element, the Plaintiff alleges that Summerville

supplies water from Raccoon Creek to his home for drinking, bathing, cooking,

and other domestic purposes; however, Raccoon Creek has been and continues

to be contaminated with PFAS due to the Defendants’ acts and omissions. (Am.

Compl. ¶ 21.) Consequently, the sole source of running, potable water to the

Plaintiff’s home is contaminated with PFAS, posing a risk to his health and

safety and interfering with the use and enjoyment of his property. (Id. ¶¶ 21,

83.) In another water pollution case, the Eleventh Circuit held that an injury-

in-fact existed where individuals were similarly “exposed to threats to their

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health by drinking water from and using affected areas.” Black Warrior

Riverkeeper, Inc. v. U.S. Army Corps of Eng’rs, 781 F.3d 1271, 1280 (11th Cir.

2015). On the issue of redressability, the Plaintiff alleges that significant

amounts of PFAS-contaminated sludge remain in the Raccoon Creek

watershed, and that this sludge continues to discharge toxic chemicals for

decades after disposal. (Am. Compl. ¶¶ 40, 87.) He also claims that

Summerville’s current treatment system cannot effectively remove PFAS from

the water supply. (Id. ¶ 83.) These allegations support that the Defendants’

violations are ongoing and redressable by a favorable decision. Therefore, the

Court denies Jarrett’s and Mount Vernon’s Motions to Dismiss on standing

grounds.

      3. Shotgun Pleading

      Huntsman alone moves to dismiss the Complaint on the grounds that it

is an impermissible shotgun pleading. (Huntsman’s Br. in Supp. of

Huntsman’s Mot. to Dismiss, at 8-10.) Mainly, Huntsman faults the Plaintiff

for pleading facts and claims against the Manufacturing Defendants as a group

rather than making individual allegations against each of them. (Id. at 8.)

According to Huntsman, this pleading method prevents it from “identifying

which alleged wrongful acts were committed, or alleged states of mind were

possessed, by each of those four defendants.” (Id.) The Plaintiff counters that

Federal Rule of Civil Procedure 8 allows a plaintiff to group together multiple

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defendants, and that many of his allegations against the other Manufacturing

Defendants can be imputed to Huntsman based on their communications. (Pl.’s

Br. in Opp’n to Huntsman’s Mot. to Dismiss, at 6-7.)

      “[U]nder the liberal requirements of notice pleading, no technical forms

of pleading are required.” Crowe v. Coleman, 113 F.3d 1536, 1539 (11th Cir.

1997). “[A] plaintiff may plead claims against multiple defendants by referring

to them collectively, for example by referring to a group of defendants as

‘defendants.’ These collective allegations are construed as applying to each

defendant individually.” Sprint Solutions, Inc. v. Fils-Amie, 44 F. Supp. 3d

1224, 1227 (S.D. Fla. 2014). Here, the Complaint clearly spells out the

independent conduct and knowledge that allegedly gave rise to Huntsman’s

liability in this action. The Plaintiff alleges that Huntsman has been supplying

PFAS products to Mount Vernon since at least 2007, when it acquired part of

DuPont de Nemours, Inc.’s (“DuPont”) PFAS business. (Am. Compl. ¶¶ 31, 63.)

The Plaintiff further alleges that DuPont and the other Manufacturing

Defendants shared five decades’ worth of studies with Huntsman about the

toxicity and persistence of PFAS prior to, during, or after the acquisition. (Id.

¶¶ 63-67, 70.) Indeed, contrary to its protestations, Huntsman’s own

arguments for dismissal reveal that it understands in detail the nature of and




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basis for the claims against it. 2 Therefore, the Court denies Huntsman’s

Motion to Dismiss on shotgun pleading grounds.

      4. Primary Jurisdiction

      Mount Vernon contends that the Court should decline to adjudicate this

action under the primary jurisdiction doctrine because it presents novel,

complex issues concerning PFAS regulation. (Mount Vernon’s Br. in Supp. of

Mount Vernon’s Mot. to Dismiss, at 16-17.) According to Mount Vernon, the

“initial regulation of PFAS in Georgia’s waters is a question best suited for

[the] EPD,” whereas this Court is not equipped to fashion a remedy or

appropriate cleanup standard without preexisting regulatory limits for PFAS.



      2   See, e.g., Amin v. Mercedes-Benz USA, 349 F. Supp. 3d 1338, 1351
(N.D. Ga. 2018) (“Indeed, the balance of Daimler’s own motion, which segues
from a Rule 8(a)(2) attack into a traditional 12(b)(6) attack, belies any such
notion. Rather, if the Complaint was so incomprehensible such that Daimler
had no fair notice of the specific claims being interposed and the grounds upon
which those claims rest, the Court finds it improbable that Daimler would be
able to formulate coherent arguments as to why each of Plaintiffs’ individual
causes of action fail to state a claim upon which relief can be granted.”); Toback
v. GNC Holdings, Inc., 2013 WL 5206103, at *2 (S.D. Fla. Sept. 13, 2013)
(“Indeed, Defendants have demonstrated their understanding of the
Complaint’s allegations against them in a brief discussion in their Reply of the
interrelated corporate Defendants’ roles with regard to the distribution of
TriFlex products.”); Abrams v. CIBA Specialty Chemicals Corp., 2008 WL
4183344, at *5 (S.D. Ala. Sept. 10, 2008) (“Indeed, defendants’ own filings in
support of their Rule 12(b) Motion reveal that they understand, at least in
general terms, the nature of the claims against them. This is simply not a case
in which a defendant is unable to respond to an unintelligible pleading; to the
contrary, defendants clearly grasp the claims against them well enough to file
an answer.”).

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(Id. at 16.) “Primary jurisdiction is a judicially created doctrine whereby a court

of competent jurisdiction may dismiss or stay an action pending a resolution of

some portion of the action by an administrative agency.” Wagner & Brown v.

ANR Pipeline Co., 837 F.2d 199, 201 (5th Cir. 1988). The doctrine may be

invoked “whenever enforcement of the claim requires the resolution of issues

which, under a regulatory scheme, have been placed within the special

competence of an administrative body; in such a case the judicial process is

suspended pending referral of such issues to the administrative body for its

views.” Id. (citation omitted). “Given that the court has a virtually unflagging

obligation to exercise jurisdiction, abstention is extraordinarily disfavored.”

Williams v. Alabama Dep’t of Transp., 119 F. Supp. 2d 1249, 1255 (M.D. Ala.

2000) (quotation marks and citations omitted).

      Courts in this circuit have consistently held that primary jurisdiction

should not be applied to environmental citizen suits. See, e.g., Black Warrior

Riverkeeper, Inc. v. Birmingham Airport Auth., 561 F. Supp. 2d 1250, 1255

(N.D. Ala. 2008); College Park Holdings, LLC v. Racetrac Petroleum, Inc., 239

F. Supp. 2d 1322, 1328-29 (N.D. Ga. 2002); Williams, 119 F. Supp. 2d at 1256.

“The weight of authority . . . indicates that federal courts should avoid

deferring to state agencies for the enforcement of federal legislation” due to the

risk of “uneven, suboptimal enforcement.” Williams, 119 F. Supp. 2d at 1256.

With respect to the CWA and RCRA, Congress expressly vested jurisdiction in

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the federal district courts to hear enforcement actions brought by private

citizens. 33 U.S.C. § 1365(a); 42 U.S.C. § 6972(a). “The statutory scheme thus

contemplates citizen suits as a supplement to state government action, and the

court could not, in good faith, unilaterally strip United States citizens of rights

given them by their government.” College Park Holdings, 239 F. Supp. 2d at

1329.

        Moreover, this case does not raise a need to “coordinate the relationship

between federal courts and administrative agencies.” Brogdon ex rel. Cline v.

National Healthcare Corp., 103 F. Supp. 2d 1322, 1329 (N.D. Ga. 2000). To the

Court’s knowledge (and Mount Vernon does not claim otherwise), the EPD has

not initiated a rulemaking or other administrative proceeding to regulate the

discharge of PFAS from industrial sources in Georgia. Nor has the agency

taken enforcement action against Mount Vernon or any other Defendant

sufficient to preclude the Plaintiff’s CWA and RCRA claims. See infra Section

III.A.6 (holding the Consent Order does not constitute diligent prosecution

under either statute). Contra, e.g., Southern All. for Clean Energy v. Duke

Energy Carolinas, LLC, 2009 WL 1940048, at *3 (W.D.N.C. July 2, 2009) (“In

sum, four of the five Plaintiffs here are also Petitioners in an action pending in

the North Carolina’s OAH before the Hon. J. Randall May, Administrative Law

Judge. In addition to the similarity of issues, the relief sought is identical, i.e.,

compliance by Duke Energy with Section 112(g) of the Clean Air Act. As a

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result, two separate and independent courts are now being asked to decide the

same issue.”) (citations omitted). Therefore, the Court denies Mount Vernon’s

Motion to Dismiss based on the primary jurisdiction doctrine.

      5. Pre-Suit Notice Requirements

      Trion, Mount Vernon, and Jarrett move to dismiss some of the claims

against them because the Plaintiff failed to comply with pre-suit notice

requirements under state and federal law. In particular, Trion argues that the

Plaintiff’s November 20, 2020 Notice Letter (“November Notice” or “Notice”)

did not provide adequate detail about the dates and locations of its alleged

violations, as mandated by Georgia’s ante litem notice statute, the CWA, and

RCRA. (Trion’s Br. in Supp. of Trion’s Mot. to Dismiss, at 14-15.) Mount

Vernon and Jarrett make identical arguments about the specificity of the

November Notice under the CWA and RCRA, while Jarrett further contends

that the Notice was not addressed to his actual residence and thus provided

him no notice at all. (Mount Vernon’s Br. in Supp. of Mount Vernon’s Mot. to

Dismiss, at 6-7, Jarrett’s Br. in Supp. of Jarrett’s Mot. to Dismiss, at 9, 10.)

According to the Plaintiff, Trion was not entitled to ante litem notice on any of

his federal- or state-law claims, and the contents of his November Notice

fulfilled the “more flexible” requirements of the CWA and RCRA. (E.g., Pl.’s

Br. in Opp’n to Trion’s Mot. to Dismiss, at 16-20 (citation omitted).)

             a. Georgia Ante Litem Notice

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      Under Georgia law, “ante litem notice is a prerequisite to the filing of

suit against a municipality.” Davis v. City of Forsyth, 275 Ga. App. 747, 747

(2005). The pertinent section, O.C.G.A. § 36-33-5(b), requires that a claimant,

“[w]ithin six months of the happening of the event upon which a claim . . . is

predicated,” present the claim in writing to the governing authority of the

municipality, “stating the time, place, and extent of the injury, as nearly as

practicable, and the negligence which caused the injury.” The Georgia

Supreme Court recently clarified that this provision “applies only to damages

caused by negligence[.]” West v. City of Albany, 300 Ga. 743, 747 (2017); see

also City of Statesboro v. Dabbs, 289 Ga. 669, 670 (2011) (“As is clear from the

plain text of this statute, it applies to tort claims regarding personal injury or

property damage[.]”) But the Plaintiff’s CWA and RCRA claims are statutory

in nature, with their own pre-suit notice requirements, and do not depend on

or allege any negligence by Trion. Accordingly, the Plaintiff was not required

to give Trion ante litem notice before filing his federal-law claims. The statute

also does not apply to the Plaintiff’s abatement claim since it seeks only

injunctive relief and not monetary damages. See Toma v. Columbia Cnty., 2007

WL 1221317, at *2 (S.D. Ga. Apr. 20, 2007) (finding O.C.G.A. § 36-33-5 “clearly

does not apply to claims for equitable or injunctive relief”).

             b. Federal Notice of Intent to Sue



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      Before initiating a citizen suit under the CWA or RCRA, the plaintiff

must give the alleged violator at least 60- or 90-days’ notice, respectively, of

the basis for his suit. 33 U.S.C. § 1365(b)(1); 42 U.S.C. § 6972(b)(2)(A). The

notice must contain

      sufficient information to permit the recipient to identify the
      specific standard, limitation, or order alleged to have been
      violated, the activity alleged to constitute a violation, the person
      or persons responsible for the alleged violation, the location of the
      alleged violation, the date or dates of such violation, and the full
      name, address, and telephone number of the person giving notice.

40 C.F.R. § 135.3; see also 40 C.F.R. § 254.3 (similar pre-suit notice

requirements under RCRA). “The notice requirements are strictly construed to

give the alleged violator the opportunity to correct the problem before a lawsuit

is filed.” Kendall v. Thaxton Road LLC, 443 F. App’x 388, 392 (11th Cir. 2011)

(quoting National Parks & Conservation Ass’n, Inc. v. Tennessee Valley Auth.,

502 F.3d 1316, 1329 (11th Cir. 2007)). Even so, a citizen-plaintiff need not “list

every specific aspect or detail of every alleged violation.” National Parks, 502

F.3d at 1329 (citation omitted). Rather, the notice must provide “enough

information to enable both the alleged violator and the appropriate agencies to

identify the pertinent aspects of the alleged violations without undertaking an

extensive investigation of their own.” Atwell v. KW Plastics Recycling Div., 173

F. Supp. 2d 1213, 1222 (M.D. Ala. 2001).

      Trion, Mount Vernon, and Jarrett contend that the November Notice

omits necessary information about the dates and locations of their alleged
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violations. (Trion’s Br. in Supp. of Trion’s Mot. to Dismiss, at 16; Mount

Vernon’s Br. in Supp. of Mount Vernon’s Mot. to Dismiss, at 7; Jarrett’s Br. in

Supp. of Jarrett’s Mot. to Dismiss, at 9.) However, the November Notice

references at least two dates—November 2019 and January 2020—when

sampling from Raccoon Creek and Summerville’s drinking water showed

elevated concentrations of PFAS. (Am. Compl., Ex. A at 4, 10, 11, 12, 18, 19.)

Based on these samples, the Plaintiff informed the Defendants that their

alleged violations “likely occurred prior to 2019 and are continuing” as of the

notice date. (Id. at 11; see also id. at 4 (as to Jarrett, illegal discharges

“continue and are ongoing, including sampling in 2019 and 2020”), 19 (as to

Trion, 2019 and 2020 sampling results “confirm” that illegal discharges “are

ongoing”).) These date ranges gave sufficient notice as to when the alleged

violations were occurring for purposes of the CWA and RCRA. See Johnson v.

3M, 2021 WL 4745421, at *12 (N.D. Ga. Sept. 20, 2021) (upholding a notice

that “lists specific sampling locations and pinpoints actual dates as well as date

ranges identifying when and where the alleged violations were occurring”).

      The November Notice is even more precise as to the locations of the

Defendants’ alleged violations. To illustrate, the Notice states that “Mount

Vernon has discharged PFAS into the Trion WPCP causing Pass Through in

violation of the national pretreatment standards, Georgia law, Trion’s NPDES

permit, and the CWA.” (Am. Compl., Ex. A at 11, 12.) The obvious implication

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is that these discharges occurred at the pipe or other connection where Mount

Vernon conveys its wastewater to the Trion WPCP.3 With respect to Trion, the

November Notice lists the addresses and owners of four properties in the

Raccoon Creek watershed that serve as land application sites for PFAS-

contaminated sludge. (Id. at 19.) While Trion insists that still more detail is

required under federal law (Trion’s Br. in Supp. of Trion’s Mot. to Dismiss, at

16), it would create an insurmountable hurdle to demand, for example, exact

coordinates for every single sludge field on every single property in the

watershed—especially since only Trion could reasonably be expected to have

that information before discovery. Finally, the Notice explains that Jarrett’s

illegal discharges of PFAS have occurred on two of his properties in the




      3The November Notice also explains how the PFAS in Mount Vernon’s
wastewater has been discharged from the Trion WPCP into Raccoon Creek:

      Sludge (biosolids) from the Trion WPCP containing PFAS from
      Mount Vernon Mills has been disposed on farmland in the Racoon
      Creek watershed upstream of the City of Summerville’s drinking
      water intake for many years. . . . Mount Vernon contributed to
      the PFAS-contaminated sludge disposed of by Trion on property
      in the Racoon Creek watershed which has resulted in the
      contamination of the waters of Racoon Creek and the
      Summerville water supply with PFOA and PFOS levels exceeding
      the EPA Drinking Water Health Advisory and significantly
      exceeding levels considered unhealthy by the ATSDR and several
      states.

(Am. Compl., Ex. A at 10, 13.)

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watershed: “5 Hairs Lake Rd. and 2012 Mahan Rd., Summerville, GA.” (Am.

Compl., Ex. A at 4.) The contents of the November Notice thus complied with

the CWA and RCRA.

       Jarrett separately argues that that November Notice is deficient

because it was not addressed to his residence in Oklahoma. (Jarrett’s Br. in

Supp. of Jarrett’s Mot. to Dismiss, at 9, 10.) To effectuate notice under the

CWA and RCRA, the plaintiff must serve the alleged violator “by certified mail

addressed to, or by personal service upon, the owner or managing agent of the

building, plant, installation, vessel, facility, or activity alleged to be in

violation.” 40 C.F.R. § 135.2(a)(1); see also 40 C.F.R. § 254.2(a)(1). Notice “shall

be deemed to have been served on the postmark date if mailed, or on the date

of receipt if served personally.” 40 C.F.R. § 135.2(c); see also 40 C.F.R. § 254.2(c)

(if served by mail, “the date of receipt will be considered to be the date noted

on the return receipt card.”). Here, the Plaintiff served the November Notice

via certified mail to the address listed for Jarrett by the Chattooga County tax

collector, as the owner of property where PFAS-contaminated sludge has

allegedly been discarded. (Pl.’s Br. in Opp’n to Jarrett’s Mot. to Dismiss, at 11.)

The Plaintiff received a return receipt confirming that the Notice was signed

for by a person who shares Jarrett’s last name. (Id., Ex. A at 1.) Not only did

this method of service comply with the pertinent regulations, but it was also

reasonable to expect that Jarrett actually received the Notice under the

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circumstances. Accordingly, the Court denies Trion’s, Mount Vernon’s, and

Jarrett’s Motions to Dismiss based on deficient pre-suit notice.

      6. Diligent Prosecution

      Trion contends for the first time on reply that the Consent Order “moots”

the Plaintiff’s CWA and RCRA claims under the diligent prosecution doctrine.4

(Reply Br. in Supp. of Trion’s Mot. to Dismiss, at 7-9.) In its opening brief, Trion

summarily stated that the RCRA claim “should be dismissed . . . as it is barred

by the Consent Order and is moot.” (Trion’s Br. in Supp. of Trion’s Mot. to

Dismiss, at 13.) However, this statement was accompanied by no legal

authorities, was silent as to the Consent Order’s effect on the CWA claims, and

Trion thus did not give the Plaintiff a fair opportunity to respond to its newly

raised argument. “As a general rule, federal courts do not consider arguments

that are presented for the first time in a reply brief.” Rindfleisch v. Gentiva

Health Servs., Inc., 22 F. Supp. 3d 1295, 1301 (N.D. Ga. 2014). Nonetheless, in



      4  Trion’s invocation of the mootness doctrine is a misnomer. Mootness
“encompasses the circumstances that destroy the justiciability of a suit
previously suitable for determination.” Louisiana Env’t Action Network v. City
of Baton Rouge, 677 F.3d 737, 745 (5th Cir. 2012) (emphasis in original)
(citation omitted). In other words, the focus is on whether any developments
after the commencement of a suit have eliminated the actual controversy and
rendered the action moot. Id. at 744. But the Consent Order was executed on
April 13, 2020—approximately ten months before the Plaintiff filed his original
Complaint in this Court. To the Court’s knowledge, there have been no
developments in the Consent Order since the Plaintiff initiated this suit that
could have rendered it moot.

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the interests of efficiency, the Court deems it appropriate to address (and

reject) Trion’s diligent prosecution defense at this preliminary stage.

      Congress intended citizen suits “to supplement rather than to supplant

governmental action.” Gwaltney of Smithfield, Ltd. v. Chesapeake Bay Found.,

Inc., 484 U.S. 49, 60 (1987). To that end, the CWA “bars a citizen from suing if

the EPA or the State has already commenced, and is ‘diligently prosecuting,’

an enforcement action.” Laidlaw, 528 U.S. at 175 (quoting 33 U.S.C. §

1365(b)(1)(B)). Section 1319(g)(6)(A) of the CWA provides that

      any violation . . . (ii) with respect to which a State has commenced
      and is diligently prosecuting an action under a State law
      comparable to this subsection, or (iii) for which . . . the State has
      issued a final order not subject to further judicial review and the
      violator has paid a penalty assessed under this subsection, or
      such comparable State law, as the case may be, shall not be the
      subject of a civil penalty action . . . under section 1365 of this title.

33 U.S.C. § 1319(g)(6)(A). Section 1365(b) imposes a further limitation on

citizen suits where the “State has commenced and is diligently prosecuting a

civil or criminal action in a court of the United States, or a State to require

compliance with the standard, limitation, or order[.]” Id. § 1365(b)(1)(B). Trion

does not specify which of these two provisions provides a basis to dismiss the

Plaintiff’s CWA claim. The answer, though, is “neither.”

      First, section 1319(g)(6)(A) requires that a state take enforcement action

“under a State law comparable to [the CWA]” to preclude a citizen suit. Id. §

1319(g)(6)(A)(ii), (iii). Here, the Consent Order cites the Georgia Water Quality

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Control Act (“GWQCA”) as the source of the EPD’s enforcement authority and

declares that Trion has violated a state Water Quality Rule as a result of its

sludge disposal operations. (Trion’s Br. in Supp. of Trion’s Mot. to Dismiss, Ex.

2 at 4, 7.) But in Kendall v. Thaxton Road LLC, 2013 WL 210892, at *3-4 (N.D.

Ga. Jan. 18, 2013), this Court determined that the GWQCA is not “roughly

comparable” to the CWA based on its more limited public participation rights.

Second, section 1365(b)(1)(B) applies only when a state “has commenced and is

diligently prosecuting a civil or criminal action in a court of the United States,

or a State[.]” 33 U.S.C. § 1365(b)(1)(B) (emphasis added). There is no indication

in the Complaint or the briefs that the EPD ever filed a civil or criminal action

in court related to the Plaintiff’s CWA claim. See Kendall, 2013 WL 210892, at

*6. For these reasons, Trion has not shown that either section 1319(g)(6)(A) or

section 1365(b)(1)(B) is an impediment to this citizen suit.

      The Court turns now to RCRA’s diligent prosecution provision. A citizen

suit alleging an imminent and substantial endangerment is barred only where

a state has undertaken one of three discrete, enumerated enforcement actions:

      if the State, in order to restrain or abate acts or conditions which
      may have contributed or are contributing to the activities which
      may present the alleged endangerment—

      (i) has commenced and is diligently prosecuting an action under
      subsection (a)(1)(B);

      (ii) is actually engaging in a removal action under section 104 of
      the Comprehensive Environmental Response, Compensation and
      Liability Act of 1980; or
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      (iii) has incurred costs to initiate a Remedial Investigation and
      Feasibility Study under section 104 of the Comprehensive
      Environmental Response, Compensation and Liability Act of
      1980 and is diligently proceeding with a remedial action under
      that Act.

42 U.S.C. § 6972(b)(2)(C). It is evident that the Consent Order, which was

executed pursuant to the GWCQA, does not fall within any of these categories

of enforcement action. (See Am. Compl. ¶ 14 (alleging the EPD “has not

commenced, nor is it prosecuting,” any of the actions listed in section

6972(b)(2)(C)).) Accordingly, Trion does not have a viable diligent prosecution

defense to the Plaintiff’s RCRA claim.

      7. Economic Loss Rule

      The Manufacturing Defendants and Mount Vernon argue that the

Plaintiff’s tort claims are barred by the economic loss rule. (E.g., 3M’s Br. in

Supp. of 3M’s Mot. to Dismiss, at 7; Mount Vernon’s Br. in Supp. of Mount

Vernon’s Mot. to Dismiss, at 18.) The economic loss rule “generally provides

that a contracting party who suffers purely economic losses must seek his

remedy in contract and not in tort.” General Elec. Co. v. Lowe’s Home Ctrs.,

Inc., 279 Ga. 77, 78 (2005). Nonetheless, “the rule has no application where the

defendant breaches a duty imposed by law or arising from a special

relationship.” Johnson, 2021 WL 4745421, at *30; see also In re Equifax, Inc.,

Customer Data Sec. Breach Litig., 362 F. Supp. 3d 1295, 1321 (N.D. Ga. 2019)

(“Where, however, an independent duty exists under the law, the economic loss

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rule does not bar a tort claim because the claim is based on a recognized

independent duty of care and thus does not fall within the scope of the rule.”)

(quotation marks and citation omitted); O.C.G.A. § 51-1-11(a) (exempting from

the economic loss rule “cases where the party would have a right of action for

the injury done independently of the contract”). This independent duty

exception applies to the Plaintiff’s tort claims because, as described below, the

Manufacturing Defendants and Mount Vernon owed the Plaintiff and the

Proposed Class Members legal duties under Georgia’s common law, statutes,

and regulations. See infra Sections III.B.4-.6. Therefore, the Court denies the

Manufacturing Defendants’ and Mount Vernon’s Motions to Dismiss on the

basis of the economic loss rule.

      8. Filed-Rate Doctrine

      Daikin alone moves to dismiss the Plaintiff’s state-law claims under the

filed-rate doctrine. (Daikin’s Br. in Supp. of Daikin’s Mot. to Dismiss, at 21-

22.) “The filed-rate doctrine forbids a regulated entity from charging rates for

its services other than those properly filed with the appropriate regulatory

authority. As a result, where the legislature has conferred power upon an

administrative agency to determine the reasonableness of a rate, the rate-

payer can claim no rate as a legal right that is other than the filed rate.” Patel

v. Specialized Loan Servicing, LLC, 904 F.3d 1314, 1321 (2018) (emphasis

added) (quotation marks, citations, and punctuation omitted). Daikin’s

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argument can be easily dispensed with because municipal water rates “are not

subject to the regulations of the Georgia Public Service Commission or any

other regulatory body[.]” Couch v. City of Villa Rice, 203 F. Supp. 897, 905

(N.D. Ga. 1962); see also Johnson, 2021 WL 4745421, at *69 (holding the filed-

rate doctrine does not apply to municipal water rates). Therefore, the filed-rate

doctrine is irrelevant to this case and does not support dismissal of the

Plaintiff’s claims.

B. Defenses Applicable to Individual Claims

       1. Counts One and Two: Trion’s and Jarrett’s Violations of the CWA
          and the GWQCA

       Counts One and Two of the Complaint state claims against Trion and

Jarrett under the CWA: the first alleges that Trion and Jarrett have

unlawfully discharged PFAS into Raccoon Creek without a NPDES permit,

and the second alleges that Trion has violated its NPDES permit and the

GWQCA by these same discharges. (Am. Compl. ¶¶ 97-99, 107-12.) Jarrett

moves to dismiss Count One on the grounds that the Complaint does not

identify a “point source” discharge on his property. (Jarrett’s Br. in Supp. of

Jarrett’s Mot. to Dismiss, at 5-7.) Trion, meanwhile, argues that the CWA

claims are barred by County of Maui, Hawaii v. Hawaii Wildlife Fund, 140 S.

Ct. 1462 (2020), because PFAS discharges from sludge into Raccoon Creek are

not the “functional equivalent of a direct discharge[.]” (Trion’s Br. in Supp. of

Trion’s Mot. to Dismiss, at 11 (emphasis omitted).) Trion also raises a permit
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shield defense, claiming that its sludge disposal was “in full compliance with

its NPDES Permit.” (Reply Br. in Supp. of Trion’s Mot. to Dismiss, at 6.) The

Court addresses these three grounds for dismissal in reverse order.

             a. Permit Shield

      Trion argues that it is not liable under the CWA because it “was

operating within all limits imposed by its [NPDES] permit and applicable

regulations and statutes.” (Trion’s Br. in Supp. of Trion’s Mot. to Dismiss, at

9.) The Plaintiff counters that there can be no permit shield defense since

Trion’s permit “does not cover discharges to Raccoon Creek and in no way

regulates PFAS.” (Pl.’s Br. in Opp’n to Trion’s Mot. to Dismiss, at 10.) The CWA

contains a permit shield provision for those who have obtained a NPDES

permit to discharge pollutants into waters of the United States. It states that

“[c]ompliance with a permit issued pursuant to this section shall be deemed

compliance” with various effluent limitations and enforcement mechanisms

under the law. 33 U.S.C. § 1342(k). “The permit shield is meant to prevent

permit holders from being forced to change their procedures due to changes in

regulations, or to face enforcement actions over ‘whether their permits are

sufficiently strict.’” Southern Appalachian Mountain Stewards v. A & G Coal

Corp., 758 F.3d 560, 564 (4th Cir. 2014) (quoting E.I. du Pont de Nemours &

Co. v. Train, 430 U.S. 112, 138 n.28 (1977)). “By rendering permits final, the



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shield allows permit holders to conduct their operations without concern that

an unexpected discharge might lead to substantial liability.” Id.

      In Piney Run Preservation Ass’n v. County Commissioners of Carroll

County, Maryland, 268 F.3d 255, 268-69 (4th Cir. 2001), the Fourth Circuit

explained the scope of the permit shield defense and its connection to the

permitting process.

      The applicant discloses the nature of its effluent discharges to the
      permitting authority. The permitting authority analyzes the
      environmental risk posed by the discharge, and places limits on
      those pollutants that . . . it reasonably anticipates could damage
      the environmental integrity of the affected waterway. Thus, as
      long as a permit holder complies with the CWA’s reporting and
      disclosure requirements, it may discharge pollutants not
      expressly mentioned in the permit. The only other limitation on
      the permit holder’s ability to discharge such pollutants is that the
      discharges must be reasonably anticipated by, or within the
      reasonable contemplation of, the permitting authority. Because
      the permitting scheme is dependent on the permitting authority
      being able to judge whether the discharge of a particular
      pollutant constitutes a significant threat to the environment,
      discharges not within the reasonable contemplation of the
      permitting authority during the permit application process,
      whether spills or otherwise, do not come within the protection of
      the permit shield.

Id. at 268 (quotation marks and citations omitted). Based on this

administrative framework, the Fourth Circuit proposed a two-part test to

determine whether section 1342(k) insulates a permit holder from liability.

      We therefore view the NPDES permit as shielding its holder from
      liability under the Clean Water Act as long as (1) the permit
      holder complies with the express terms of the permit and with the
      Clean Water Act’s disclosure requirements and (2) the permit
      holder does not make a discharge of pollutants that was not
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      within the reasonable contemplation of the permitting authority
      at the time the permit was granted.

Id. at 259. A party must meet both parts of the test to receive protection from

the permit shield. Southern Appalachian Mountain, 758 F.3d at 565.

      Trion operates the Trion WPCP pursuant to NPDES permit No.

GA0025607. (Am. Compl. ¶ 37.) It is undisputed that the permit does not

contain any conditions specifically pertaining to PFAS. (Trion’s Br. in Supp. of

Trion’s Mot. to Dismiss, Ex. 2 at 4.) The sole question for the Court, then, is

whether Trion sufficiently disclosed its PFAS discharges during the permitting

process such that they were within the reasonable contemplation of the EPD.

Piney Run, 268 F.3d at 268. Neither the Plaintiff nor Trion references any

permit application materials or other administrative records to substantiate

what Trion did or did not disclose to the EPD. Nor would it be appropriate for

the Court to consider such materials at the dismissal stage. See St. Georgia v.

Pinellas Cnty., 285 F.3d 1334, 1337 (11th Cir. 2002). It is also impossible for

the Court to infer from the terms of Trion’s permit alone whether it adequately

informed the EPD about the nature and locations of its discharges. Until there

has been more factual development of Trion’s permit shield defense, the Court

must accept the relevant allegations in the Complaint as true: those are, Trion

has made illegal and unpermitted discharges of PFAS from its sludge disposal

areas to Raccoon Creek, and/or Trion has committed various violations of its

NPDES permit as a result of these discharges. (Am. Compl. ¶¶ 97-101, 106-
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12.) See, e.g., Flint Riverkeeper, Inc. v. Southern Mills, Inc., 276 F. Supp. 3d

1359, 1368-69 (M.D. Ga. 2017) (declining to dismiss a CWA claim where the

defendant allegedly discharged wastewater in a manner not authorized by its

NPDES permit).

      Trion, however, claims that it was not aware of the PFAS in its sludge

and thus could not have informed the EPD about these discharges. (Reply Br.

in Supp. of Trion’s Mot. to Dismiss, at 6.) Trion further argues that it was only

required to disclose the type of discharge (i.e., sludge) but not the contents of

the discharge (i.e., PFAS) to receive a NPDES permit. (Id.) The Fourth Circuit

rejected almost identical arguments in Southern Appalachian Mountain. 758

F.3d at 565-68. There, a coal mine had failed to disclose discharges of selenium

from two artificial ponds in its NPDES permit application. Still, the mine

argued that the permit shield was intact because it did not have reason to know

selenium was at the site, and because the permitting agency reasonably

contemplated such discharges. Id. at 562. Disagreeing, the court noted that the

CWA places the burden on the permit applicant to gather and provide

information to the permitting agency. Id. at 566. By contrast, the mine’s (and

Trion’s) interpretation “encourages willful blindness by those discharging

pollutants and prevents the state and federal agencies tasked by the CWA with

protecting our waters from receiving the information necessary to effectively

safeguard the environment.” Id. at 567. Moreover, the court held that a permit

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holder is not shielded from liability where its permit application identified

general “wastestreams, operations, and processes” as opposed to constituent

pollutants. Id. at 568. In sum, Trion cannot claim ignorance about the contents

of its own discharges and expect to receive the protection of the permit shield.5

             b. “Functional Equivalent” Test

      The Plaintiff alleges that Trion was required to obtain a NPDES permit

for PFAS discharges that migrate from land-applied sludge to Raccoon Creek

through hydrologically connected groundwater. (Am. Compl. ¶ 98.) These are

not traditional, end-of-pipe discharges that convey pollutants directly from the

source to receiving waters, and Trion argues that the connection between its

sludge disposal sites and Raccoon Creek is too tenuous to come within the scope

of the CWA. (Trion’s Br. in Supp. of Trion’s Mot. to Dismiss, at 11.) In County

of Maui, the Supreme Court clarified that the CWA requires a permit “when




      5   Trion relatedly argues that the Plaintiff’s CWA claims should be
dismissed because it has not committed “an intentional violation of the permit
or any statutory requirements[.]” (Trion’s Br. in Supp. of Trion’s Mot. to
Dismiss, at 6.) “The regulatory provisions of the [CWA] were written without
regard to intentionality, however, making the person responsible for the
discharge of any pollutant strictly liable.” United States v. Earth Scis., Inc.,
599 F.2d 368, 374 (10th Cir. 1979); see also Friends of the Earth, Inc. v.
Laidlaw Env’t Servs. (TOC), 890 F. Supp. 470, 496 (D.S.C. 1995) (“[U]nder the
[CWA] a violation of an NPDES permit is a strict liability offense. Thus, the
reasonableness or bona fides of an alleged violator’s efforts to comply with its
permit is not relevant in determining whether a violator is liable under the
Act.”) (citations omitted) (emphasis in original).

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there is a direct discharge from a point source into navigable waters or when

there is the functional equivalent of a direct discharge.” 140 S. Ct. at 1476

(emphasis in original). The Court endorsed several non-exhaustive factors to

determine “[w]hether pollutants that arrive at navigable waters after traveling

through groundwater are ‘from’ a point source”:

      (1) transit time, (2) distance traveled, (3) the nature of the
      material through which the pollutant travels, (4) the extent to
      which the pollutant is diluted or chemically changed as it travels,
      (5) the amount of pollutant entering the navigable waters relative
      to the amount of the pollutant that leaves the point source, (6) the
      manner by or area in which the pollutant enters the navigable
      waters, (7) the degree to which the pollution (at that point) has
      maintained its specific identity.

Id. at 1476-77. “Time and distance will be the most important factors in most

cases, but not necessarily every case.” Id. at 1477.

      Other than citing these factors and an EPA guidance document, Trion

hardly explains why its sludge-based PFAS discharges do not meet the

“functional equivalent” test. (Trion’s Br. in Supp. of Trion’s Mot. to Dismiss, at

7-11.) Trion argues that these discharges “may not be the functional equivalent

of a direct discharge due to the time involved (distribution over a 28-year

period) and the fact that it is not known what other factors could have impacted

this groundwater contamination.” (Id. at 11 (emphasis added).) Trion also

claims that it “is unaware of when the PFAS substances began to be discharged

into the [Trion WPCP] and is therefore unsure as to how long these substances

may have been in the biosolids used for agricultural purposes.” (Id.) If
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anything, these statements raise factual issues that cannot be resolved without

the benefit of discovery and a factual record. The Plaintiff, meanwhile, alleges

that Trion’s “discharges of PFAS to Raccoon Creek from the sludge disposed of

in    the   Raccoon   Creek    watershed      through   hydrologically     connected

groundwater constitute the ‘functional equivalent’ of a direct discharge to these

surface waters[.]”6 (Am. Compl. ¶ 98.) For now, nothing more is required to

avoid dismissal.

              c. Point Source

        Jarrett contends that the Plaintiff has failed to allege, “with any

plausible particularity,” facts to support the existence of a “point source” on his

property. (Jarrett’s Br. in Supp. of Jarrett’s Mot. to Dismiss, at 5-6.) A point

source discharge is a central element of a claim under section 1311(a) of the

CWA. See Parker v. Scrap Metal Processors, Inc., 386 F.3d 993, 1008 (11th Cir.

2004). The statute defines a “point source” as “any discernible, confined, and

discrete conveyance, including but not limited to any pipe, ditch, channel,



        6This allegation finds support elsewhere in the Complaint and the EPD
Consent Order. For example, the Complaint describes samples of Raccoon
Creek and Summerville’s finished water supply, which showed elevated levels
of PFAS downstream of Trion’s sludge disposal sites in the watershed. (Am.
Compl. ¶¶ 74-79.) Based on these sampling results, the Consent Order states
that “the land application of biosolids by [Trion] . . . is contributing to the levels
of PFOA and PFOS in Raccoon Creek and consequently in the finished water
from the City of Summerville’s Raccoon Creek drinking water treatment
plant.” (Trion’s Br. in Supp. of Trion’s Mot. to Dismiss, Ex. 2 at 7.)

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tunnel, conduit, well, discrete fissure, [or] container . . . from which pollutants

are or may be discharged.” 33 U.S.C. § 1362(14). In the Eleventh Circuit, courts

interpret the term broadly to embrace “any identifiable conveyance from which

pollutants might enter waters of the United States.” Parker, 386 F.3d at 1009

(citation omitted); see also Earth Scis., 599 F.2d at 373 (“We believe it

contravenes the intent of [the CWA] and the structure of the statute to exempt

from regulation any activity that emits pollution from an identifiable point.”).

“[A] point source need not be the original source of the pollutant; it need only

convey the pollutant to ‘navigable waters[.]’” South Fla. Water Mgmt. Dist. v.

Miccosukee Tribe of Indians, 541 U.S. 95, 105 (2004).

      According to Jarrett, the Plaintiff’s CWA claim should be dismissed

because the point source element was not pleaded with “particularized factual

allegations[.]” (Reply Br. in Supp. of Jarrett’s Mot. to Dismiss, at 2.) But a

complaint need not contain “detailed factual allegations” to survive dismissal;

the allegations must merely “be enough to raise a right to relief above the

speculative level[.]” Twombly, 550 U.S. at 555. Here, the Plaintiff asserts that

sludge from the Trion WPCP “is dewatered and disposed of by land application”

on Jarrett’s farm property in the Raccoon Creek watershed. (Am. Compl. ¶ 35.)

The PFAS in the sludge then allegedly migrates through hydrologically

connected groundwater into Raccoon Creek as the functional equivalent of a

direct discharge. (Id. ¶ 98.) Courts routinely find that land application systems,

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spray head sprinklers, and trucks constitute point sources when used to spread

treated wastewater and manure on land.7 The Plaintiff’s allegations, though

imprecise, are broad enough to encompass these and potentially other

categories of point sources. The Court believes that discovery is needed to allow

the Plaintiff to further refine his theory of a point source discharge.

      For these reasons, the Court denies Trion’s Motion to Dismiss on the

grounds that the statutory permit shield and the functional equivalent test bar

the Plaintiff’s CWA claims, and denies Jarrett’s Motion to Dismiss on the

grounds that the Plaintiff has not sufficiently alleged a point source on his

property.

      2. Count Three: Mount Vernon’s Violations of Federal Pretreatment
         Standards, Local Ordinances, and the GWCQA

      In Count Three of the Complaint, the Plaintiff alleges that Mount

Vernon has violated federal pretreatment standards, local ordinances, and the



      7  See, e.g., Concerned Area Residents for Env’t v. Southview Farm, 34
F.3d 114, 119 (2d Cir. 1994) (holding manure-spreading vehicles are point
sources based on “[t]he collection of liquid manure into tankers and their
discharge on fields”); Flint Riverkeeper, 276 F. Supp. 3d at 1368 (“[D]istrict
courts in other jurisdictions have found such [land application] systems are
point sources. Plaintiffs also allege Defendant sprays wastewater into its . . .
fields through a series of spray heads. A spray apparatus can be a discernable,
confined, and discrete conveyance, and thus other district courts have found
spray apparatuses are point sources.”); Community Ass’n for Restoration of
Env’t (CARE) v. Sid Koopman Dairy, 54 F. Supp. 3d 976, 981 (E.D. Wash. 1999)
(“The instruments or machinery used to apply those animal wastes [to
agricultural fields] will be considered ‘point sources’ under the CWA.”).

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GWQCA by its PFAS discharges into the Trion WPCP. (Am. Compl. ¶¶ 116-

34.) Mount Vernon contends that the Complaint offers no viable theory of

recovery under any of these local, state, or federal laws, as described below.

             a. “Pass Through” Under the CWA

      The Plaintiff first claims that Mount Vernon’s PFAS discharges have

caused “Pass Through” at the Trion WPCP in violation of the CWA and its

implementing regulations. (Am. Compl. ¶¶ 117-23.) Section 1317 of the CWA

establishes the federal pretreatment program to regulate discharges from

industrial facilities into publicly owned treatment works (“POTW”). 33 U.S.C.

§§ 1317(b)-(e). Most POTWs “were designed and built to treat domestic sewage

and other similar biological waste. However, industrial users of POTWs may

discharge wastes in concentrations or volumes that cannot be adequately

treated by the receiving POTW.” Arkansas Poultry Fed’n v. EPA, 852 F.3d 324,

326 (8th Cir. 1988). Accordingly, the EPA has enacted rules that prohibit

“introduc[ing] into a POTW any pollutant(s) which cause Pass Through or

Interference.” 40 C.F.R. § 403.5(a)(1). “Pass Through” is defined as

      a Discharge which exits the POTW into waters of the United
      States in quantities or concentrations which, alone or in
      conjunction with a discharge or discharges from other sources, is
      a cause of a violation of any requirement of the POTW’s NPDES
      permit (including an increase in the magnitude or duration of a
      violation).

Id. § 403.3(p). According to the Plaintiff, Mount Vernon’s PFAS discharges

constitute Pass Through because they cannot be effectively treated at the Trion
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WPCP and then enter Raccoon Creek via PFAS-contaminated sludge, causing

a violation of a condition in Trion’s NPDES permit. (Am. Compl. ¶ 122.)

      In response to these allegations, Mount Vernon argues that the land

application of sludge is not subject to the Pass Through rule, which focuses

instead on “discharge[s] of treated effluent directly from the [POTW]” into

jurisdictional waters. (Mount Vernon’s Br. in Supp. of Mount Vernon’s Mot. to

Dismiss, at 10.) Mount Vernon points out that the disposal and use of sludge

is governed by different statutory and regulatory programs than pretreatment

effluent. (Reply Br. in Supp. of Mount Vernon’s Mot. to Dismiss, at 7 (citing 33

U.S.C. § 1345; 40 C.F.R. § 503.1).) This construction of the CWA is consistent

with Chemical Manufacturers Ass’n v. EPA, 870 F.2d 177 (5th Cir. 1989).

There, the EPA enacted regulations finding that chromium, copper, and nickel

do not cause Pass Through when they are discharged into POTWs and

transferred to sludge. The EPA based this conclusion on its “plans to regulate

sludge separately from wastewater[.]” Id. at 187. The Fifth Circuit upheld the

regulations because “Congress’ intent was that the presence of pollutants in

sludge would be regulated under § 405(d). As further evidence of Congress’

intent, in 1977 Congress rejected a proposed amendment which would have

required the EPA to regulate pollutants which contaminate the sludge of

POTWs.” Id. at 248. Accordingly, the Court grants Mount Vernon’s Motion to

Dismiss as to the Plaintiff’s Pass Through claim. The Court further concludes

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that the Plaintiff’s claim under Trion’s Industrial User Ordinance should be

dismissed as it is predicated on a Pass Through violation. (Am. Compl. ¶ 126.)

             b. Local Sewer Use Ordinance

      Next, Mount Vernon argues that the Plaintiff has failed to plead a claim

under Trion’s Sewer Use Ordinance. (Mount Vernon’s Br. in Supp. of Mount

Vernon’s Mot. to Dismiss, at 12-13.) According to Mount Vernon, the CWA

authorizes citizen suits only for municipal standards that are developed in

accordance with public notice-and-comment procedures, but the Complaint

does not allege whether Trion followed these procedures in crafting its

ordinances. (Id. at 12 (citing 40 C.F.R. § 403.5(d)).) On the Court’s review of

the pertinent regulations, Mount Vernon overstates the degree of public

participation required to make local ordinances actionable as federal

standards. 40 C.F.R. § 403.5(c)(3) states only that a POTW shall provide

“individual notice”—not general notice—to “persons or groups who have

requested such notice and an opportunity to respond.” Id. (emphasis added).

The Plaintiff sufficiently alleges that Trion complied with this requirement in

enacting the Sewer Use Ordinance. (Am. Compl. ¶ 124 (the ordinance was

enacted “so that Trion can comply with all State and Federal laws, including

the Clean Water Act”).)

      The next question for the Court is whether the Plaintiff also sufficiently

alleges a violation of the Sewer Use Ordinance to maintain this citizen suit.

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Section 62-231 of the Trion Code provides that “[t]he [CWA] governs industrial

discharge, and specific rules for industrial pretreatment are contained in

Pretreatment Regulation (40 CFR 403), as issued by the [EPA]. Industrial

users will be required to cooperate with the Town in complying with the federal

regulations.” (Id. ¶ 125.) This provision does not impose any specific limitations

apart from the CWA but merely requires industrial users to comply with

federal regulation. Because the Court has dismissed the Plaintiff’s federal Pass

Through claim, he no longer has a viable claim under section 62-231. Section

62-213(8), meanwhile, prohibits discharges to the sewer system of “[a]ny

waters or wastes containing chemical residues, textile fibers, toxic materials

or other industrial byproduct in sufficient quantity to injure or interfere with

any sewage treatment process, constitute a hazard to humans or animals, or

create any hazard in the receiving waters of the sewage treatment plant.” (Id.

¶ 124.) The Complaint contains ample allegations that Mount Vernon’s PFAS

discharges pose a hazard to human health when they resist degradation in the

Trion WPCP and then leach from sludge into Raccoon Creek and

Summerville’s water supply. (Id. ¶¶ 33-53.)8 Accordingly, there is an adequate

basis for the Plaintiff’s claim under section 62-213(8).



      8  Mount Vernon argues that it cannot be liable under section 62-213(8)
because it holds an industrial user permit to discharge wastewater into the
Trion WPCP. (Mount Vernon’s Br. in Supp. of Mount Vernon’s Mot. to Dismiss,
at 13.) The Plaintiff counters that the permit “in no way” authorizes Mount
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             c. GWQCA Provisions

      Finally, Mount Vernon argues that the Plaintiff has no private right of

action to enforce provisions of the GWCQA, specifically O.C.G.A. §§ 12-5-29(a)

and 12-5-30.4(a). (Mount Vernon’s Br. in Supp. of Mount Vernon’s Mot. to

Dismiss, at 13-14.) However, Mount Vernon concedes that state standards can

be enforced in a citizen suit when they are incorporated as conditions into a

permit (id. at 14), and Mount Vernon’s industrial user permit expressly

requires compliance with “any applicable State and Federal pretreatment

laws, regulations, standards, and requirements,” (Id., Ex. 1 at 3.) Altamaha

Riverkeeper, Inc. v. Rayonier, Inc., 2015 WL 1505971 (S.D. Ga. Mar. 31, 2015),

is not to the contrary. Id. at *4-5 (holding the EPD did not intend to incorporate

Georgia’s water quality standards as conditions to a NPDES permit that was

issued “in compliance with” the GWQCA). Mount Vernon further insists that

neither O.C.G.A. § 12-5-29(a) nor O.C.G.A. § 12-5-30.4(a) applies to its

wastewater discharges into the Trion WPCP. (Reply Br. in Supp. of Mount

Vernon’s Mot. to Dismiss, at 10.) As discussed in Section III.B.5, the Court

agrees with Mount Vernon as to the latter, but not the former, provision and

thus dismisses the Plaintiff’s claim under O.C.G.A. § 12-5-30.4(a).




Vernon to discharge PFAS, setting up a factual dispute which the Court is not
prepared to decide on a Rule 12(b)(6) motion. (Pl.’s Br. in Opp’n to Mount
Vernon’s Mot. to Dismiss, at 14-15.)

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      3. Count Four: RCRA Imminent and Substantial Endangerment

      Count Four of the Complaint alleges that Mount Vernon, Trion, and

Jarrett have violated RCRA by disposing of PFAS in a manner that “may

present an imminent and substantial endangerment to health or the

environment.” (Am. Compl. ¶ 142.) The Defendants contend that there is no

basis for an endangerment claim because the alleged disposal operations took

place wholly in the past and the harmful effects of PFAS have since been

remediated. (E.g., Mount Vernon’s Br. in Supp. of Mount Vernon’s Mot. to

Dismiss, at 8-9.) In addition, Jarrett argues that the Complaint fails to plead

“non-conclusory plausible factual allegations” regarding his role in creating the

endangerment. (Jarrett’s Br. in Supp. of Jarrett’s Mot. to Dismiss, at 9-10.)

      “RCRA is a comprehensive environmental statute that governs the

treatment, storage, and disposal of solid and hazardous waste.” Meghrig v.

KFC W., Inc., 516 U.S. 479, 483 (1996). “RCRA’s primary purpose . . . is to

reduce the generation of hazardous waste and to ensure the proper treatment,

storage, and disposal of that waste which is nonetheless generated, ‘so as to

minimize the present and future threat to human health and the

environment.’” Id. (quoting 42 U.S.C. § 6902(b)). While the EPA is primarily

responsible for implementing and enforcing RCRA, the statute contains a

citizen suit provision allowing private citizens to enforce its mandates in some

circumstances. 42 U.S.C. § 6972(a)(1)(B). In relevant part,              section

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6972(a)(1)(B) empowers any person to “commence a civil action . . . against any

person . . . who has contributed or who is contributing to the past or present

handling, storage, treatment, transportation, or disposal of any solid or

hazardous waste which may present an imminent and substantial

endangerment to health or the environment.” Id.

      The operative word in the statute is ‘may,’ which signals only “a

potential for an imminent threat of a serious harm to the environment or

[human] health.” Parker, 386 F.3d at 1015 (emphasis added) (citation omitted).

For an endangerment to be considered “imminent,” “there must be a threat

which is present now, although the impact of the threat may not be felt until

later.” Meghrig, 516 U.S. at 486 (emphasis in original) (citation omitted).

Section 6972(a)(1)(B) “applies retroactively to past violations, so long as those

violations are a present threat to health or the environment.” Parker, 386 F.3d

at 1014; see also Connecticut Coastal Fishermen’s Ass’n v. Remington Arms

Co., Inc., 989 F.2d 1305, 1316 (2d Cir. 1993) (“[U]nder an imminent hazard

citizen suit, the endangerment must be ongoing, but the conduct that created

the endangerment need not be.”). In other words, “the disposal of wastes as

wholly past acts can constitute a continuing violation as long as no proper

disposal procedures are put into effect or as long as the waste has not been

cleaned up and the environmental effects remain remediable.” Cox v. City of

Dallas, 256 F.3d 281, 298 (5th Cir. 2001) (citation omitted).

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      The Defendants argue that PFAS pollution does not pose a threat to the

Plaintiff because: (1) Mount Vernon stopped using PFOA and PFOS at its Trion

mill in 2017; (2) Trion has ceased land application of sludge in the Raccoon

Creek watershed under the Consent Order; and (3) Summerville’s treatment

system has reduced PFOA and PFOS levels in drinking water below the health

advisory threshold. (Mount Vernon’s Br. in Supp. of Mount Vernon’s Mot. to

Dismiss, at 8-9; Trion’s Br. in Supp. of Trion’s Mot. to Dismiss, at 12; Jarrett’s

Br. in Supp. of Jarrett’s Mot. to Dismiss, at 10-11.) None of these factual

contentions, however, can overcome the Plaintiff’s extensive allegations of an

imminent and substantial endangerment. First, while Mount Vernon claims to

no longer use PFOA and PFOS at its mill, the Complaint alleges that it

“continues to discharge high levels of PFAS to the Trion WPCP,” including

PFOA and PFOS, based on samples taken in 2020. (Am. Compl. ¶ 34.) The

Court must accept this allegation of ongoing discharges as true rather than

wade into a premature “contest between the parties about the facts or the

substantive merits of the case.” Howell v. QS of Ga., LLC, 2007 WL 9702215,

at *4 (N.D. Ga. Mar. 12, 2007) (citation omitted).

      Similarly, whether Trion has ended the land application of sludge in the

Raccoon Creek watershed, is a factual matter “to be explored in discovery and

ultimately considered on summary judgment.” May v. Sony Music Ent., 399 F.

Supp. 3d 169, 182 (S.D.N.Y. 2019). Furthermore, the Court finds that the

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Plaintiff has plausibly alleged that even wholly past disposals of PFAS-

contaminated sludge are a present threat to downstream water users. For

example, the Plaintiff claims that (1) Trion has disposed of nearly 8,000 tons

of PFAS-contaminated sludge in the watershed since 1992; (2) due to their

persistence and mobility, PFAS are discharged from sludge to Raccoon Creek

for decades, or longer, after initial disposal; (3) significant amounts of PFAS-

contaminated sludge remain on properties in the watershed, threatening

Raccoon Creek and Summerville’s water supply with further contamination;

and (4) all sludge must be removed from the watershed to abate the risk of

harm to the Plaintiff and others who consume Summerville’s municipal water.

(Am. Compl. ¶¶ 36, 39-40, 87, 143.)

      Finally, the fact that the EPD has lifted the water advisory for

Summerville customers, does not necessarily spell the end of the

endangerment. Though instructive, “state standards do not define a party’s

federal liability under RCRA.” Interfaith Community Org. v. Honeywell Int’l,

Inc., 399 F.3d 248, 261 n.6 (3d Cir. 2005). The Plaintiff also alleges that Mount

Vernon currently uses and discharges short-chain PFAS to the Trion WPCP,

which are persistent, toxic, and bioaccumulate in human blood like PFOA and

PFOS. (Am .Compl. ¶ 69.) According to the Plaintiff, Summerville’s temporary

treatment system does not effectively remove PFOA, PFOS, or short-chain

PFAS from the municipal water supply, and therefore, these chemicals

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continue to pose a health and safety risk to the Plaintiff and other Summerville

water customers. (Id. ¶ 82-83.) Indeed, sampling conducted in December 2020

allegedly shows that Summerville’s finished water contains “toxic” levels of

PFAS, including PFOA at 24 ppt, PFOS at 15 ppt, and “elevated levels” of

multiple short-chain PFAS. (Id. ¶ 83.) The Plaintiff insists that a new

permanent treatment system is needed to effectively remove PFOA, PFOS, and

short-chain PFAS from the water supply to guarantee a safe, permanent source

of water for residents. (Id. ¶ 83-84.)

      The Court turns now to Jarrett’s argument that the factual allegations

in the Complaint are too “conclusory” to make out a plausible RCRA claim

against him. (Jarrett’s Br. in Supp. of Jarrett’s Mot. to Dismiss, at 10.)

According to Jarrett, the sole non-conclusory allegation is “that he allowed

Trion at some time in the past to spread biosolids from its waste[]water

treatment plant onto his property.” (Id. at 10.) Though not explicit, this

argument appears to be directed at the “contribution” element of an

endangerment claim. RCRA does not define what acts of contribution come

within the scope of section 6972(a)(1)(B); however, other courts have explained

that “a defendant [must] be actively involved in or have some degree of control

over the waste disposal process to be liable under RCRA.” Hinds Invs., L.P. v.

Angioli, 654 F.3d 846, 851-52 (9th Cir. 2011) (collecting cases). The Plaintiff

alleges that Jarrett has permitted Trion to “dump” PFAS-contaminated sludge

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on his property in the Raccoon Creek watershed. (Am. Compl. ¶¶ 26, 35.)

Jarrett’s affirmative permission to dispose of sludge on his land shows that he

has actively participated in and maintained some degree of control over Trion’s

disposal operations. See Cox, 256 F.3d at 297 (holding the City’s “‘lax oversight’

of its contractors and their disposal of City waste is evidence of the City’s

‘contributing to’ liability”). Accordingly, the Court denies his and the other

Defendants’ Motions to Dismiss as to the Plaintiff’s RCRA claim.

      4. Count Five: Negligence

      In Count Five of the Complaint, the Plaintiff asserts a negligence claim

against the Manufacturing Defendants and Mount Vernon. He alleges that

they have breached a duty of reasonable care owed to the Plaintiff and the

Proposed Class Members to prevent the contamination of Raccoon Creek with

PFAS. (Am. Compl. ¶¶ 162-67.) The Manufacturing Defendants and Mount

Vernon urge the Court to dismiss this claim because Georgia law imposes no

legal duty on them for the Plaintiff’s protection, and because their actions did

not proximately cause the Plaintiff’s alleged injuries. (E.g., 3M’s Br. in Supp.

of 3M’s Mot. to Dismiss, at 11-13.; Mount Vernon’s Br. in Supp. of Mount

Vernon’s Mot. to Dismiss, at 18-19.) The Court addresses each argument in

turn, distinguishing between the Manufacturing Defendants and Mount

Vernon as the law dictates.

             a. Legal Duty

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      The elements of negligence are (1) “the existence of a duty on the part of

the defendant,” (2) “a breach of that duty,” (3) “causation of the alleged injury,”

and (4) “damages resulting from the alleged breach of the duty.” Rasnick v.

Krishna Hosp., Inc., 289 Ga. 565, 566 (2011). “Before negligence can be

predicated upon a given act, some duty to the individual complaining must be

sought and found, the observance of which duty would have averted or avoided

the injury or damage.” CSX Transp. Inc. v. Williams, 278 Ga. 888, 889 (2005)

(citation omitted); see also Department of Lab. v. McConnell, 305 Ga. 812, 815

(2019) (“Negligence is premised on, among other things, a duty owed by the

defendant to the plaintiff.”). “The legal duty is the obligation to confirm to a

standard of conduct under the law for the protection of others against

unreasonable risks of harm.” Rasnick, 289 Ga. at 566. Such a duty can arise

from either a legislative enactment or a common law principle recognized in

the case law. Id. at 566-67. Whether either of these sources imposed a legal

duty on the Manufacturing Defendants or Mount Vernon under the

circumstances, is a question of law reserved to the Court. Id. at 567.

      According to the Manufacturing Defendants and Mount Vernon, the

Complaint alleges only an impermissible “generalized duty to prevent harm to

the public.” (3M’s Br. in Supp. of 3M’s Mot. to Dismiss, at 12-13.) This

argument relies on McConnell, a case in which a Georgia Department of Labor

(“DOL”) employee widely circulated a spreadsheet with the names, social

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security numbers, and other personal information of 4,757 individuals. 305 Ga.

at 812-13. One of those individuals filed a negligence suit against the DOL

based on “a purported common law duty ‘to all the world not to subject others

to an unreasonable risk of harm[.]’” Id. at 815 (punctuation omitted) (quoting

Bradley Ctr. v. Wessner, 250 Ga. 199, 201 (1982)). The Georgia Supreme Court

affirmed the dismissal of the complaint, disapproving its earlier Bradley

Center opinion to the extent that it could be read to create such a broad legal

duty. Id. at 816. The court, however, explicitly did not consider “whether a duty

might arise on these or other facts from any other statutory or common law

source[.]” Id. at 816 n.5. Georgia and federal courts have since relied on

McConnell to find that “plaintiffs who failed to show a specific, recognized legal

duty under Georgia law as opposed to some generalized duty could not

maintain a claim for negligence.” Johnson, 2021 WL 4745421, at *45. The

Court weighs now whether the Plaintiff has shown a specific, recognized legal

duty with respect to the Manufacturing Defendants and Mount Vernon.

                   i.   Manufacturing Defendants

      The Plaintiff argues that the Manufacturing Defendants owed a duty of

reasonable care under section 389 of the Second Restatement of Torts as the

supplier of a knowingly hazardous product. (Pl.’s Br. in Opp’n to 3M’s Mot. to

Dismiss, at 3.) Section 389 provides:

      One who supplies directly or through a third person a chattel for
      another’s use, knowing or having reason to know that the chattel
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      is unlikely to be made reasonably safe before being put to a use
      which the supplier should expect it to be put, is subject to liability
      for physical harm caused by such use to those whom the supplier
      should expect to use the chattel or to be endangered by its
      probable use, and who are ignorant of the dangerous character of
      the chattel or whose knowledge thereof does not make them
      contributorily negligent, although the supplier has informed the
      other for whose use the chattel is supplied of its dangerous
      character.

Restatement (Second) of Torts § 389 (Am. L. Inst. 1965). The term “physical

harm” in this context refers to impairment of the human body as well as land

and chattels. Johnson v. Ford Motor Co., 281 Ga. App. 166, 173 (2006) (“[T]he

Restatement (Second) of Torts clearly provides that physical harm can be

damage to property.”), overruled on other grounds by Campbell v. Altec Indus.,

Inc., 288 Ga. 535 (2011). The Georgia Court of Appeals originally adopted

section 389, then part of the First Restatement of Torts, in Moody v. Martin

Motor Co., 76 Ga. App. 456, 461 (1948).

      Applying section 389 of the Second Restatement, Georgia courts have

found that product suppliers have a duty to protect third parties from

reasonably foreseeable harm that occurs during the normal use of their

products. For example, in Ogletree v. Navistar International Transportation

Corp., 194 Ga. App. 41 (1989), overruled on other grounds by Weatherby v.

Honda Motor Co., Ltd., 195 Ga. App. 169 (1990), the plaintiff’s late husband,

Ogletree, was killed when the driver of a truck manufactured by the defendant,

Navistar, mistakenly backed up and struck him. Id. at 42. The trial court

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granted summary judgment to Navistar on whether it owed a duty to install

an audible back-up alarm on its trucks for the safety of bystanders. Id. at 44.

The Georgia Courts of Appeals then reversed, holding that “it was reasonably

foreseeable to [Navistar] that in normal operation, the completed product

would be backed up and there would be people behind it who were unaware of

its rearward movement towards them.” Id. at 47. While Navistar argued that

the lack of a back-up alarm was “open and obvious,” this fact did not foreclose

liability to “third parties who may only learn of the absence after not being

warned.” Id. at 47-48. Finally, the court clarified that “[f]oreseeability itself

does not allow the imposition of a duty” absent evidence that an ordinarily

prudent manufacturer would install the alarm. Id. at 48.

      The Georgia Court of Appeals again addressed the scope of section 389

in Dupree v. Keller Industries, Inc., 199 Ga. App. 138 (1991). There, the

plaintiffs sustained severe hand injuries while operating a hydraulic punch

press and brought a negligence claim against the company, Keller, that had

sold the press to their employer, Dixie. Id. at 139.

      The primary theory of negligence was that Keller was under a
      duty to conform to industry standards and to regulations of the
      United States Occupational Safety & Health Administration
      (OSHA) with respect to the press, that Keller breached the duty
      by failing to incorporate into the press certain safeguards, namely
      “control reliability” and “brake monitoring circuitry,” and that the
      failure to add the safeguards was the proximate cause of their
      injuries.


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Id. The court held that Keller owed no legal duty to the plaintiffs under section

389 of the Second Restatement. First, the court noted that there had been no

injuries during Keller’s ownership and use of the press; moreover, even if the

industry and federal regulations evidenced an inherent danger in the press,

“there was a complete absence of evidence that Keller had reason to believe

that Dixie or its employees would not realize the lack of the safeguard devices.”

Id. at 143. The court also reasoned that the plaintiffs knew or should have

known about the missing safety devices because similar accidents had occurred

with the press before their own injuries, and because there had been multiple

inspections and repairs to the press after delivery to Dixie. Id. at 140-41, 143.

      Although no Georgia court has ever applied section 389 in an

environmental pollution case, decisions from other jurisdictions are persuasive

as to how a Georgia court might evaluate this action. For example, in Henry v.

St. Croix Alumina, LLC, 2007 WL 6030275 (D.V.I. Aug. 10, 2007), individuals

who lived and worked downwind of an aluminum refinery sued the company,

Glencore, that supplied bauxite to the refinery. Red bauxite mud is produced

as a by-product of the refining process, and the plaintiffs complained that this

mud blew into their neighborhoods during a hurricane due to improper storage.

Id. at *1. The court declined to grant summary judgment to Glencore on

whether it owed a legal duty under section 389 as a bauxite supplier. Id. at

*14-15. The court found “sufficient evidence for a jury to conclude that Glencore

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knew or had reason to know that the bauxite was unlikely to be made

unreasonably [sic] safe before being put to its expected use.” Id. at *15.

Glencore’s designated representative had visited the refinery multiple times

each year and seen the open-air storage of red mud firsthand. Further,

Glencore knew that the refinery was in a hurricane zone, and that there was a

possibility for mud to be blown into nearby neighborhoods. On these facts, the

court determined that Glencore could be held liable under section 389 for

continuing to sell bauxite to the refinery. Id.

      Based on the foregoing authority, the Court concludes that the Plaintiff

has identified a specific, established legal duty under Georgia law applicable

to the Manufacturing Defendants. That is, a duty arose where the

Manufacturing Defendants continuously supplied PFAS to Mount Vernon with

knowledge that the chemicals were unlikely to be made reasonably safe in their

regular use and could foreseeably contaminate surface waters and downstream

water supplies. The following allegations in the Complaint support the

imposition of a legal duty here: the Manufacturing Defendants (1) have known

for decades that PFAS are toxic and persistent in humans and other animals

(Am. Compl. ¶¶ 54-59, 64-67, 70), (2) have long been aware that conventional

wastewater treatment processes are ineffective, resulting in PFAS discharges

to surface waters and accumulation in sewage sludge (id. ¶ 60-61), and (3)

notwithstanding these known risks of harm, have supplied PFAS to Mount

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Vernon without taking necessary precautions to prevent PFAS from

contaminating surface waters such as Raccoon Creek and municipal water

supplies. (Id. ¶ 163.) In the Court’s view, these allegations are not equivalent

to a general duty to prevent harm to all the world, but make out a well-

established duty under Georgia law with a limited geographic scope.

      The Manufacturing Defendants, however, contend that section 389

cannot be used to create a legal duty to control the conduct of third persons

like Mount Vernon. (E.g., Reply Br. in Supp. of 3M’s Mot. to Dismiss, at 5.)

They cite Maynard v. Snapchat, Inc., 357 Ga. App. 496 (2020), for support, but

that case is easily distinguishable from the one at bar. In Snapchat, the court

considered whether Snapchat breached a duty by designing a speed filter into

its smartphone application that allowed users to record and overlay their

speeds onto a photo or video. The plaintiffs argued that the filter was

negligently designed because it encouraged users to endanger themselves and

others on the road. Id. at 496-98. The court disagreed, holding that Snapchat

did not owe a duty to prevent “the intentional (not accidental) misuse of the

product in a tortious way by a third party.” Id. at 500 (emphasis added)

(quotation marks and citations omitted). By contrast, the Plaintiff here does

not allege that Raccoon Creek was contaminated due to Mount Vernon’s or any

other Defendant’s intentional misuse of PFAS but as a predictable consequence



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of the chemicals’ normal use. 9 For these reasons, the Court denies the

Manufacturing Defendants’ Motions to Dismiss on the issue of legal duty.10

                  ii.   Mount Vernon

      The Plaintiff argues that Mount Vernon owed a legal duty because “it

was reasonably foreseeable that its discharges of PFAS to the Trion WPCP

would result in the release of PFAS into the surrounding environment.” (Pl.’s

Br. in Opp’n to Mount Vernon’s Mot. to Dismiss, at 22.) In Johnson, the court

considered a nearly identical question: that is, whether carpet manufacturers

were subject to a duty based on allegations that they (1) generated industrial

wastewater with high levels of PFAS, (2) were aware that PFAS are toxic to

human health and persistent in the environment, (3) discharged their

industrial wastewater to a local treatment facility, and (4) knew that PFAS




      9 Nor would the Manufacturing Defendants be required to control the
conduct of third parties to discharge their legal duties. (Contra Reply Br. in
Supp. of Daikin’s Mot. to Dismiss, at 5.) Instead, they could refuse to sell PFAS
to customers like Mount Vernon whose disposal methods are inadequate to
prevent environmental contamination. Or they could develop alternative
chemical compounds that offer the commercially beneficial properties of PFAS
but without the harmful effects.
      10 In so holding, the Court recognizes that it has reached a different
conclusion than did the Johnson court in this district, which held that PFAS
suppliers do not owe a duty to protect third parties who are harmed by others’
negligent use or disposal of PFAS. 2021 WL 4745421, at *49. However, Johnson
did not have the occasion to address section 389 of the Second Restatement or
the Georgia case law adopting a duty thereunder. See generally id. at *44-49.

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resist degradation during treatment and inevitably flow via sludge into surface

waters. 2021 WL 4745421, at *48. The court chronicled a number of specific,

established duties under Georgia law that are applicable to such conduct.

       The Georgia courts recognize a duty not to engage in conduct that
       will result in pollution of state waters (including non-navigable
       streams) rendering them unfit for their ordinary purposes by
       downstream users. . . . Similarly, the Eleventh Circuit recognized
       that the Georgia legislature has expressed a strong interest in
       deterring environmental pollution and in protecting the rights of
       property owners to have water flow upon their land in its natural
       state free from adulteration. . . . Additionally, the Georgia
       Supreme Court has held that while as a general rule one is not
       liable in damages for the natural results from a lawful, proper,
       and non-negligent use of his property[,] yet where, as here, such
       uses put in motion conditions that go upon the lands of another
       and there damage his health or property, such injured person is
       entitled to relief in equity to abate or terminate such injuries
       which are alleged to be irreparable and continuous. . . . Georgia
       law further recognizes that a defendant who conducts an
       abnormally dangerous activity which proximately causes a
       plaintiff’s injuries should be held liable for those injuries.

Id. at *46-47 (quotation marks, citations, and punctuation omitted).

       From the Court’s perspective, these legal duties extend equally to the

present case. The Plaintiff alleges that Mount Vernon (1) has used PFAS in its

manufacturing process for at least 35 years (Am. Compl. ¶ 33), (2) has

discharged and continues to discharge these chemicals via wastewater into the

Trion WPCP (id.), (3) has long been aware of the persistence and toxicity of

PFAS    due   to   scientific   publications   and   communications    with   the

Manufacturing Defendants (id. ¶¶ 70, 167), and (4) knew or should have known

that its use, disposal, and/or discharge of PFAS would result in contamination
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to surface waters and downstream water supplies, endangering human health

and the environment. (Id. ¶ 167.) Under the Georgia authorities cited in

Johnson, these allegations are sufficient to establish a legal duty on the part

of Mount Vernon. In particular, Mount Vernon has a duty to exercise

reasonable care in its use and disposal of unreasonably dangerous chemicals

such as PFAS to avoid pollution of state waterways and injury to downstream

water users. See Johnson, 2021 WL 4745421, at *48. Accordingly, the Court

denies Mount Vernon’s Motion to Dismiss for lack of a cognizable duty.

             b. Proximate Causation

      The Manufacturing Defendants and Mount Vernon also seek to dismiss

the Plaintiff’s negligence claim on the grounds that he has not alleged a causal

connection between their conduct and his injuries. (E.g., 3M’s Br. in Supp. of

3M’s Mot. to Dismiss, at 17.) Causation is an essential element of negligence,

nuisance, and trespass claims. Alexander v. Hulsey Env’t Servs., 306 Ga. App.

459, 462 (2010) (citation omitted). “[P]roximate cause is defined as that which,

in the natural and continuous sequence, unbroken by other causes, produces

an event, and without which the event would not have occurred.” Yearty v.

Scott Holder Enters., Inc., 349 Ga. App. 718, 722 (2019) (quotation marks and

citation omitted). Importantly, a “proximate cause is not necessarily the last

act or cause, or the nearest act to the injury[.]” Sprayberry Crossing P’ship v.

Phenix Supply Co., 274 Ga. App. 364, 365 (2005). Rather, it encompasses “all

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of the natural and probable consequences of the tortfeasor’s negligence, unless

there is a sufficient and independent intervening cause.” Cowart v. Widener,

287 Ga. 622, 627-28 (2010). “[F]or an intervening act of a third party to become

the sole proximate cause of a plaintiff’s injuries, the intervening act must not

have been foreseeable by defendant, must not have been triggered by

defendant’s act, and must have been sufficient by itself to cause the injury.”

Ontario Sewing Mach. Co., Ltd. v. Smith, 275 Ga. 683, 686 (2002).

      According to the Manufacturing Defendants and Mount Vernon, they

cannot be the proximate cause of the Plaintiff’s alleged injuries without having

directed or controlled Trion’s sludge disposal operations. (E.g., 3M’s Br. in

Supp. of 3M’s Mot. to Dismiss, at 17-18; Mount Vernon’s Br. in Supp. of Mount

Vernon’s Mot. to Dismiss, at 20.) They rely on the Georgia Court of Appeals’

decision in Alexander, in which a customer of a waste disposal facility, HES,

was sued for creating a nuisance to nearby properties. 306 Ga. App. at 461-62.

The plaintiffs complained that the disposal facility sprayed water from

processing human and commercial waste into the air, generating offensive

odors, attracting pests, and interfering with the use and enjoyment of their

properties. Id. at 460-62. The court, however, upheld summary judgment in

favor of HES because, “[a]s a customer, it does not direct or control any conduct

of the waste disposal operation.” Id. at 461. Importantly, this holding was



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premised on a lack of evidence that HES had actual knowledge that its waste

was being processed and discarded in an offensive manner. Id. at 461-62.

      By contrast, the Plaintiff here alleges that the Manufacturing

Defendants and Mount Vernon had actual knowledge that their PFAS were

contaminating Raccoon Creek and downstream water supplies due to

inadequate treatment and disposal methods. (Am. Compl. ¶¶ 61, 164, 167.) See

Johnson, 2021 WL 4745421, at *50 (distinguishing Alexander where carpet

manufacturers allegedly discharged PFAS into a local treatment facility with

knowledge that the PFAS were contaminating surface waters). This case is

more analogous to Citizens & Southern Trust Co. v. Phillips Petroleum Co.,

Inc., 192 Ga. App. 499 (1989). In Phillips Petroleum, the plaintiffs sued two

service stations and their supplier, Phillips, after gasoline leaked from

underground storage tanks and migrated onto their property. Phillips’ only

connection with the underground tanks was in its capacity as the supplier of

gasoline stored within them. Id. at 499-500. Nonetheless, the Georgia Court of

Appeals found that Phillips could be liable for the property damage because “a

genuine issue of material fact remain[ed] as to . . . Phillips’ actual knowledge

of a defective condition in the storage tanks.” Id. at 500 (emphasis added).

      Next, the Manufacturing Defendants argue that Mount Vernon’s,

Trion’s, and Jarrett’s handling and disposal of PFAS were independent,

intervening acts that severed the chain of causation. (E.g., 3M’s Br. in Supp. of

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3M’s Mot. to Dismiss, at 18.) The Manufacturing Defendants cite Edwards v.

Campbell, 338 Ga. App. 876 (2016), for support. In Edwards, the plaintiff was

injured in a car accident following the improper installation of two new tires

on his vehicle. He filed suit against Campbell, the former owner of the store

where the tires were replaced, alleging that Campbell had negligently trained

the new owner, Lanham, two years earlier. Id. at 876. The Georgia Court of

Appeals affirmed that Campbell was not the proximate cause of the plaintiff’s

injuries. The court emphasized that Lanham had “legal obligations, as a

business owner, to ensure the safe installation of . . . tires,” and that Campbell

was not bound to anticipate “Lanham would blindly follow his instructions on

tire installation for two years without independently confirming” industry

standards. Id. at 885 (emphasis in original). The court further reasoned that it

“would be unusual and only remotely and slightly probable” for a new business

owner to rely exclusively on years-old training Id. (quotation marks and

citation omitted) (emphasis in original).

      Unlike in Edwards, the Plaintiff’s allegations here support that the

Manufacturing Defendants should have anticipated the other Defendants’

intervening acts and their harmful consequences. The Plaintiff claims that the

Manufacturing Defendants sold PFAS to Mount Vernon for decades with

knowledge that the chemicals are toxic and persistent and would not be

properly treated at the Trion WPCP. (Am. Compl. ¶¶ 54, 60, 164.) Indeed, 3M

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discovered that PFOA would not biodegrade in water treatment plants in 1978,

and 3M and Daikin have been aware of PFAS contamination in their own

wastewater effluent and sludge since at least 2000. (Id. ¶ 61.) Under these

circumstances, the Court cannot say that it was necessarily unforeseeable for

third parties to use and dispose of PFAS in a manner that would contaminate

surface waters like Raccoon Creek. See Sims v. American Cas. Co., 131 Ga.

App. 461, (1974) (foresight does not require a defendant to “anticipate the

particular consequences which ensued,” but that “consequences of a generally

injurious nature might result”) (citation omitted); Warner v. Arnold, 133 Ga.

App. 174, 177 (1974) (an intervening illegal act does not sever proximate

causation if the original wrongdoer “had reasonable ground for apprehending

that such criminal act would be committed”). For these reasons, the Court

denies the Manufacturing Defendants’ and Mount Vernon’s Motions on

causation grounds.11

      5. Count Six: Negligence Per Se

      The Plaintiff raises a claim for negligence per se against Mount Vernon

in Count Six of the Complaint. “In Georgia, negligence per se arises when a

defendant violates a statute or ordinance, satisfying, as a matter of law, the



      11   The Defendants and Mount Vernon make identical arguments with
respect to the Plaintiff’s negligent failure-to-warn and nuisance claims, which
fail for the same reasons articulated above.

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first two elements of a negligence claim.” Amick v. BM & KM, Inc., 275 F. Supp.

2d 1378, 1381 (N.D. Ga. 2003); see also O.C.G.A. § 51-1-6. According to the

Plaintiff, Mount Vernon owed him and the Proposed Class Members legal

duties under the GWQCA and its implementing regulations to:

      •   not use any waters of the State for the disposal of sewage,
          industrial wastes, or other wastes, O.C.G.A. § 12-5-29(a);

      •   immediately notify [the] EPD of the location and nature of
          PFAS discharges into waters of the State and immediately
          take all reasonable steps to prevent injury to the health or
          property of downstream users of waters of the State, O.C.G.A.
          § 12-5-30.4;

      •   keep waters of the State free from “industrial wastes or other
          discharges in amounts sufficient to . . . interfere with the
          designated use of the water body,” Ga. Comp. R. & Regs. § 391-
          3-6-.03(5)(b);

      •   keep waters of the State free from “industrial or other
          discharges which . . . interfere with the designated use of the
          water body,” id. § 391-3-6-.03(5)(c); and

      •   keep waters of the State free from “toxic . . . substances
          discharged from . . . industries or other sources . . . in amounts,
          concentrations or combinations which are harmful to humans,
          animals or aquatic life[.]” Id. § 391-3-6-.03(5)(e).

(Am. Compl. ¶ 172.) Mount Vernon, however, contends that these provisions

do not apply to its wastewater discharges into the Trion WPCP as opposed to

direct effluent discharges into state waters. (Mount Vernon’s Br. in Supp. of

Mount Vernon’s Mot. to Dismiss, at 21.) Mount Vernon further argues that the

Complaint does not allege the kinds of harm and interference to Raccoon Creek

prohibited by the GWQCA regulations. (Id. at 21-22.)

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      First, Mount Vernon denies that it has “use[d] any waters of the state

for the disposal of . . . industrial wastes” within the meaning of O.C.G.A. § 12-

5-29(a). (Id. at 21.) Without citation, Mount Vernon insists that it did not have

the requisite control over Trion’s sludge disposal operations to trigger a duty

under the statute. (Id. at 21.) But the Court does not read O.C.G.A. § 12-5-

29(a)—especially the inclusion of the term “use”—so narrowly to cover only

direct discharges into state waters. See Use, Merriam-Webster’s Unabridged

Dictionary,   https://unabridged.merriam-webster.com/unabridged/use         (last

visited Feb. 24, 2022) (“use” means “to carry out a purpose or action by means

of” or “make instrumental to an end or process”). Nor is the Court persuaded

that Mount Vernon necessarily did not “control” the disposal of PFAS-

contaminated sludge in state waters (to the extent control is an element of

O.C.G.A. § 12-5-29(a)). As explained below, the Plaintiff alleges that Mount

Vernon had knowledge of and the right to abate the causes of PFAS pollution

in Raccoon Creek. See infra Section III.B.8.b. These allegations are enough to

demonstrate control over a dangerous situation under Georgia law.12




      12 Mount Vernon also argues that O.C.G.A. § 12-5-29(a) is inapposite
because its wastewater discharges were made into the Trion WPCP pursuant
to an industrial user permit. However, there remains a factual question as to
whether the permit authorized Mount Vernon to discharge wastewater
containing PFAS, an unlisted pollutant.

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      Next, Mount Vernon claims that it was not “in charge of” any PFAS

discharges into Raccoon Creek and thus did not violate the notice and response

requirements of O.C.G.A. § 12-5-30.4(a). While the statute does not define what

it means to be “in charge of” a substance, the phrase indicates a greater degree

of control that the knowledge-plus-right-to-abate standard above—something

more akin to possession or custody at the time that a substance is discharged

into state waters. See Charge, Merriam-Webster’s Unabridged Dictionary,

https://unabridged.merriam-webster.com/unabridged/in%20charge               (last

visited February 24, 2022) (“in charge” means “having the control or custody of

something”). This interpretation follows from the specific context in which the

phrase is used: O.C.G.A. § 12-5-30.4(a) requires a person “to immediately notify

the [EPD] of the location and nature of the discharge and to immediately take

all reasonable steps to prevent injury to the health or property of . . .

downstream users.” To comply with these directives, a person must know with

some precision where and when a substance was discharged into state waters,

but the Plaintiff does not allege that Mount Vernon had such direct

involvement in Trion’s sludge disposal. Accordingly, the Court finds that

Mount Vernon was not subject to a legal duty under O.C.G.A. § 12-5-30.4(a).

      Finally, Mount Vernon argues that the three GWQCA regulations cited

in the Complaint also have no bearing on its PFAS discharges. Mount Vernon

is correct with respect to Ga. Comp. R. & Regs. §§ 391-3-6-.03(5)(b) and (c). The

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former states that “[a]ll waters shall be free from oil, scum and floating debris

associated with . . . industrial waste,” but there are no allegations that PFAS

have generated oil, scum, or floating debris in Raccoon Creek. Ga. Comp. R. &

Regs. § 391-3-6-.03(5)(b). The latter states that “all waters shall be free from

material related to . . . industrial . . . discharges which produce turbidity, color,

odor or other objectionable conditions,” but there are no allegations that PFAS

have produced turbidity, color, odor, or other aesthetic changes in Raccoon

Creek.13 Id. § 391-3-6-.03(5)(c). The Plaintiff fares better on his claim under

Ga. Comp. R. & Regs. § 391-3-6-.03(5)(e). This regulation prohibits “toxic”

industrial discharges “in amounts, concentrations or combinations which are

harmful to humans, animals or aquatic life.” Id. § 391-3-6-.03(5)(e). The

Complaint recounts in detail how Mount Vernon’s PFAS discharges have

caused the contamination of Raccoon Creek and Summerville’s municipal

water supply, exposing the Plaintiff and the Proposed Class Members to



       13 Because “other objectionable conditions” is listed alongside “turbidity,
color, [and] odor,” the Court interprets the phrase to encompass aesthetic,
rather than merely chemical, changes in the waterbody. See People for Ethical
Treatment of Animals, Inc. v. Miami Seaquarium, 879 F.3d 1142, 1147 (11th
Cir. 2018) (“The interpretive maxim noscitur a sociis counsels that a word is
known by the company it keeps. It is frequently employed where, as here, a
string of statutory terms raises the implication that the words grouped in a list
should be given related meaning.”) (quotation marks and citations omitted);
Altamaha Riverkeeper, Inc. v. Rayonier Performance Fibers, LLC, 346 Ga.
App. 269, 270 (2018) (noting Ga. Comp. R. & Regs. § 391-3-6-.03(5)(c) is a non-
numerical narrative standard designed to address “aesthetic concerns”).

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hazardous levels of PFAS. (Am. Compl. ¶¶ 33-36, 38-53, 74-87.) These

allegations create sufficient grounds for a legal duty under Ga. Comp. R. &

Regs. § 391-3-6-.03(5)(e).

      6. Count Seven: Negligent Failure to Warn

      In Count Seven of the Complaint, the Plaintiff alleges that the

Manufacturing Defendants and Mount Vernon negligently failed to warn the

purchasers of PFAS products, as well as those who may be foreseeably harmed

by PFAS, about the associated risks to human health and the environment.

The Manufacturing Defendants argue that this claim should be dismissed

because a duty to warn the Plaintiff and other Summerville water customers

would be unmanageably broad. (E.g., Daikin’s Br. in Supp. of Daikin’s Mot. to

Dismiss, at 12.) They further contend that it was unnecessary to warn Mount

Vernon about the risks of PFAS because those risks were widely known in the

industry. (E.g., 3M’s Br. in Supp. of 3M’s Mot. to Dismiss, at 16.) The Plaintiff

responds that it would have been neither impractical nor ineffective for the

Manufacturing Defendants to include a warning with the sale of their PFAS

products. (Pl.’s Br. in Opp’n to 3M’s Mot. to Dismiss, at 8.) He also argues that

dismissal would be premature in light of outstanding factual questions,

including when Mount Vernon became aware of the dangers of PFAS, and

whether any of the Manufacturing Defendants provided adequate warnings to

Mount Vernon. (Id. at 9.)

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      To state a cause of action for negligent failure to warn, “a plaintiff must

allege facts sufficient to show that (1) the manufacturer knew or reasonably

should have known of a danger arising from use of the product and therefore

had a duty to warn; (2) the manufacturer breached the duty; and (3) the breach

was the proximate cause of the plaintiff’s injury.” Johnson v. Shaner SPA

Assocs., 2011 WL 13323678, at *2 (N.D. Ga. May 19, 2011); see also Davis v.

John Crane, Inc., 353 Ga. App. 253, 251 (2019). “The duty to warn may be owed

to consumers, reasonably foreseeable users, and[] purchasers of the product.

This duty has been extended, in some cases, to reasonably foreseeable third

parties.” Certainteed Corp. v. Fletcher, 300 Ga. 327, 330 (2016) (citations

omitted). “In determining whether such a duty exists, the court should consider

the foreseeability of the use in question, the type of danger involved, and the

foreseeability of the user’s knowledge of the danger. Such matters generally

are not susceptible of summary adjudication and should be resolved by a trial

in the ordinary manner.” Williams v. Taser Int’l, Inc., 2006 WL 8433374, at *6

(N.D. Ga. Oct. 10, 2006) (quotation marks and citations omitted).

      Under Georgia law, “the warning need not necessarily be given to the

person actually injured in order for the manufacturer to escape liability”;

rather, it may be given to “a person in a position such that he may reasonably

be expected to act so as to prevent the danger from manifesting itself.” Stovall

& Co. v. Tate, 124 Ga. App. 605, 613 (1971) (citation omitted). In Shaner SPE,

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for example, a hotel guest sustained a head injury when he violently slammed

into an electromagnetic door lock protruding into the entryway. 2011 WL

13323678, at *1. He sued the manufacturers of the door lock, alleging that they

had a duty to warn the hotel, not him, of the “danger inherent in purchasing

and installing an electromagnetic door lock that reduced the door height below

minimum building and safety codes[.]” Id. at *2. On the manufacturers’ motion

to dismiss, the court held that the complaint sufficiently pleaded a negligent

failure-to-warn claim. Because the manufacturers had allegedly managed the

installation of the door lock, they were “likely to have superior knowledge of

the dangers posed by improper selection or installation of such a lock and

influence over its positioning.” Id. at *3. This knowledge, the court held,

established that the manufacturers had a duty to warn the hotel, and that

breach of the duty may plausibly be linked to the plaintiff’s alleged injuries Id.

      The Plaintiff makes similar allegations in support of his negligent

failure-to-warn claim, including that: (1) the Manufacturing Defendants had

superior knowledge of the human health and environmental hazards

associated with PFAS (Am. Compl. ¶¶ 54-60, 64-67, 70, 177); (2) they were

aware that PFAS could not be effectively treated at conventional wastewater

treatment plants like the Trion WPCP (id. ¶¶ 61, 180); (3) they failed to warn

Mount Vernon about these risks even though it was foreseeable that improper

use and disposal of PFAS would result in contamination to surface waters and

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downstream water supplies (id. ¶¶ 179-80); and (4) their negligent failure to

warn proximately caused the contamination of the Plaintiff’s domestic water.

(Id. ¶ 186). Accordingly, there is a sufficient factual basis to find that the

Manufacturing Defendants owed a duty to warn Mount Vernon about the risks

of PFAS for the protection of reasonably foreseeable third parties like the

Plaintiff. See, e.g., Williams, 2006 WL 8433374, at *7 (holding the plaintiff,

whose husband was killed following multiple taser discharges to his chest,

sufficiently alleged that the taser manufacturer had a duty to warn police

officers about the potential lethal risks of taser use).

      The Manufacturing Defendants, however, contend that Certainteed

Corp. v. Fletcher, 300 Ga. 327 (2016), and Reichwaldt v. General Motors LLC,

304 F. Supp. 3d 1312 (N.D Ga. 2018), carve out an exception to the duty to

warn in this case. (E.g., Pulcra’s Br. in Supp. of Pulcra’s Mot. to Dismiss, at 10-

12.) In Certainteed, the plaintiff, who was diagnosed with mesothelioma,

sued an asbestos manufacturer for failing to warn about the health effects of

asbestos. 300 Ga. at 327. The plaintiff’s father had worked with asbestos-laden

water pipes manufactured by the defendant, and she attributed her disease to

years of washing her father’s asbestos-covered clothing. The Georgia Court of

Appeals agreed with the plaintiff, holding that a warning label could have

allowed her father to mitigate the danger from his clothing. Id. at 330. The



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Georgia Supreme Court, though, reversed based on the “broader application”

of the lower court’s proposed duty.

      [U]nder the theory developed below, the warning aimed at
      protecting third parties would not have been systematically
      distributed or available to the individuals to which it was
      targeted; instead, the onus would have been on the worker to keep
      those third parties safe. It is not difficult to envision that, while
      some workers might have taken steps to protect or warn family
      members or other individuals with whom they came in contact,
      other workers might not have taken such steps.

Id. (emphasis in original). The court deemed it unreasonable to impose a duty

to warn all individuals in the plaintiff’s position “as the mechanism and scope

of such warnings would be endless.” Id. at 331.

      In Reichwaldt, the plaintiff suffered serious burns when her car was

struck by a GM “CK” pickup truck and then exploded due to a puncture in the

truck’s gas tank. 304 F. Supp. 3d at 1313. According to the plaintiff, before GM

ever manufactured and marketed the CK truck, it knew that the gas tank was

vulnerable to side impacts and could cause post-collision fires even in relatively

minor accidents. The plaintiff thus alleged that GM had a duty to warn

reasonably foreseeable third-party victims about the dangerous fuel tank

design. Id. at 1314, 1317. Disagreeing, this Court reasoned that such a duty

would have “almost no fixed scope.”

      With hundreds of thousands of CK pickup trucks on the road,
      there are countless individuals who could foreseeably come into
      contact with CK pickup trucks. It would be impractical, if not
      impossible, to fulfill this purported duty to warn. It is difficult to
      imagine the manner in which . . . GM would have been able to
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      make such a warning, and it would be unreasonable to impose
      such a duty.

Id. at 1317. The Court also held that GM did not owe a duty to warn the driver

of the CK truck based on “the same logical chain” in Certainteed. Id. at 1318.

      From the Court’s perspective, the rationale behind Certainteed and

Reichwaldt does not foreclose a duty to warn on the facts of this case. Unlike

in Certainteed and Reichwaldt, it would be neither impractical nor ineffective

for the Manufacturing Defendants to warn Mount Vernon (and other

customers) about the known hazards of PFAS and the proper methods of

disposal. Presumably, this duty would have a more limited scope than the

untold number of workers in Certainteed or the hundreds of thousands of truck

owners in Reichwaldt. Moreover, the Manufacturing Defendants have

allegedly maintained a continuous commercial relationship with Mount

Vernon over multiple decades, making it more probable that Mount Vernon

would receive and act in accordance with product warnings. (Am. Compl. ¶¶

33, 63, 68.) The effectiveness of these warnings would not depend on the

fortuitous acts of individual workers or truck owners. Contra Reichwaldt, 304

F. Supp. 3d at 1318. Rather, sophisticated companies like Mount Vernon

should be expected to take action, when adequately warned, to reduce the

potential harms from their operations to humans and the environment.

      Finally, the Manufacturing Defendants oppose a duty to warn on the

grounds that Mount Vernon had long been aware of the risks of PFAS, as
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alleged in the Complaint.14 (3M’s Br. in Supp. of 3M’s Mot. to Dismiss, at 16

(citing Am. Compl. ¶¶ 60, 70).) Under the “learned intermediary” doctrine,

“[w]here the product is vended to a particular group or profession, the

manufacturer is not required to warn against risks generally known to such

group or profession.” Carter v. E.I. DuPont de Nemours & Co., Inc., 217 Ga.

App. 139, 139 (1995) (citation omitted). But whether a risk is known to a

profession is a question of fact that should not be decided on a motion to

dismiss. This question is not resolved by the Plaintiff’s allegation that the

persistence and toxicity of PFAS have been widely published since at least

2000—especially since he also alleges that some of the Manufacturing

Defendants have been selling PFAS to Mount Vernon for far longer. (Am.

Compl. ¶¶ 33, 70.) And even though 3M allegedly produced a warning about

PFAS disposal in 1986, whether this (and any other) warning was adequate

under the circumstances also presents a question of fact. (Id. ¶¶ 60, 73.) See

Thornton v. E.I. Du Pont De Nemours & Co., Inc., 22 F.3d 284, 289 (11th Cir.




      14  The Manufacturing Defendants make a similar argument on the
issue of proximate causation: that their failure to warn Mount Vernon did not
cause the Plaintiff’s injuries because Mount Vernon allegedly knew its use and
disposal of PFAS would contaminate downstream water supplies. (E.g., 3M’s
Br. in Supp. of 3M’s Mot. to Dismiss, at 19-20 (citing Am. Compl. ¶¶ 70, 167,
182-83.).)

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1994). For these reasons, the Court denies the Manufacturing Defendants’

Motions to Dismiss as to the Plaintiff’s claim for negligent failure to warn.

      7. Count Eight: Wanton Conduct and Punitive Damages

      In Count Eight of the Complaint, the Plaintiff alleges that he is entitled

to punitive damages based on the Manufacturing Defendants’ and Mount

Vernon’s “knowing[], willful[] or wanton[]” conduct “with conscious disregard

and indifference to the rights and safety others[.]” (Am. Compl. ¶¶ 190-93.) The

Plaintiff also alleges that these Defendants are liable for his attorney’s fees

and litigation expenses because they have exhibited bad faith and stubborn

litigiousness, which has put the Plaintiff through unnecessary trouble and

expense. (Id. ¶ 194.) Mount Vernon contends that, because the Plaintiff’s

underlying claims are meritless, so too are these derivative claims for punitive

damages and attorney’s fees. (Mount Vernon’s Br. in Supp. of Mount Vernon’s

Mot. to Dismiss, at 24.) Moreover, even if any of the underlying claims survive

dismissal, Mount Vernon insists that it lawfully disposed of PFAS in

compliance with a validly issued permit, and that its conduct does not meet the

standards for punitive damages or attorney’s fees. (Id.)

      As an initial matter, Mount Vernon is correct that the Plaintiff cannot

recover punitive damages or attorney’s fees unless he recovers damages or

other relief on an underlying, substantive claim. ABH Corp. v. Montgomery,

365 Ga. App. 703, 706 (2020) (“The derivative claims of attorney fees and

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punitive damages will not lie in the absence of a finding of compensatory

damages on an underlying claim.”) (citation omitted). However, because the

Court has declined to dismiss the Plaintiff’s tort claims as to Mount Vernon,

his claims for punitive damages and attorney’s fees also survive dismissal.

Moreover, Mount Vernon’s industrial user permit does not shield it from

liability for punitive damages since, as explained above, its compliance with

that permit is a disputed factual question. Nor can the Court say at this

preliminary stage whether Mount Vernon’s conduct falls outside the scope of

O.C.G.A. § 13-6-11, which awards litigation expenses “where the defendant has

acted in bad faith, has been stubbornly litigious, or has caused the plaintiff

unnecessary trouble and expense.” In general, the jury should be allowed to

decide whether a party has displayed such conduct in the course of the

litigation. Steel Magnolias Realty, LLC v. Bleakley, 276 Ga. App. 155, 156

(2005). Accordingly, the Court denies Mount Vernon’s Motion to Dismiss as to

the Plaintiff’s punitive damages and attorney’s fees.15

      8. Counts Nine and Ten: Public Nuisance and Abatement



      15  For the same reasons, the Court also denies Mount Vernon’s Motion
to Dismiss as to the Plaintiff’s class claims, which is based on the now-rejected
argument that the Plaintiff has no viable claims against Mount Vernon.
(Mount Vernon’s Br. in Supp. of Mount Vernon’s Mot. to Dismiss, at 24-25.)
From the Court’s perspective, Mount Vernon’s other contention that the
“Plaintiff’s class claims are plagued with individual questions,” is premature
at this juncture. (Id. at 25.)

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      In Counts Nine and Ten of the Complaint, the Plaintiff alleges that the

Defendants have caused or contributed to a public nuisance, seeking damages

against the Manufacturing Defendants and Mount Vernon and an injunction

to abate the nuisance against all of the Defendants. Under Georgia law, a

nuisance is anything that “causes hurt, inconvenience, or damage to . . . . an

ordinary, reasonable man.” O.C.G.A. § 41-1-1. A public nuisance is “one which

damages all persons who come with the sphere of its operation, though it may

vary in its effects on individuals.” Id. § 41-1-2. The Motions to Dismiss put forth

two main arguments in opposition to the Plaintiff’s nuisance claims: (1) the

Plaintiff does not allege special damages as required to maintain a private

right of action for public nuisance, and (2) the Manufacturing Defendants and

Mount Vernon did not exercise control over the cause of the alleged harm.16

The Court addresses each of these arguments in turn.

             a. Special Damages




      16 Mount Vernon also claims that it cannot be liable in nuisance because
its wastewater discharges complied with an industrial user permit. (Mount
Vernon’s Br. in Supp. of Mount Vernon’s Mot. to Dismiss, at 23.) However, this
arguments fails under the statutory definition of “nuisance,” which specifically
includes otherwise lawful acts. O.C.G.A. § 41-1-1 (“[T]he fact that the act done
may otherwise be lawful shall not keep it from being a nuisance.”); see also
May v. Brueshaber, 265 Ga. 889, 889 (1995) (“If one do an act, of itself lawful,
which, being done in a particular place, necessarily tends to the damage of
another’s property, it is a nuisance[.]” (citation omitted)).

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      The Defendants contend that the Plaintiff cannot show any special

damages where, as here, his alleged injuries are shared by other members of

the public. (E.g., 3M’s Br. in Supp. of 3M’s Mot. to Dismiss, at 24; Mount

Vernon’s Br. in Supp. of Mount Vernon’s Mot. to Dismiss, at 22-23; Trion’s Br.

in Supp. of Trion’s Mot. to Dismiss, at 13-14; Jarrett’s Br. in Supp. of Jarrett’s

Mot. to Dismiss, at 12-13.) “A public nuisance generally gives no right of action

to any individual. However, if a public nuisance in which the public does not

participate causes special damage to an individual, such special damage shall

give a right of action.” O.C.G.A. § 41-1-3. According to the Plaintiff, the alleged

injuries to his real property interests are recognized as special damages under

Georgia law, no matter how many other Summerville water users sustained

similar injuries. (Pl.’s Br. in Opp’n to 3M’s Mot. to Dismiss, at 22-23.)

      The Plaintiff’s argument is consistent with Savannah, Florida &

Western Railway Co. v. Parish, 117 Ga. 893 (1903). There, the Georgia

Supreme Court distinguished personal injury and property damage from

general public injury on the basis that the former, “[i]n the very nature of

things . . . can only be predicated of the individual.” Id. at 280.

      [T]he public cannot be said to enjoy health or suffer sickness. . . .
      Whatever affects his health affects him specially, and him alone.
      Such damage is special damage within the meaning of the Code,
      and the fact that other citizens suffer similar special damages
      does not convert his injury into the nature of public damages. So,
      too, anything which damages a particular plaintiff’s property, or
      renders it unfit for use, is not lost in the general and public
      nuisance. . . . [W]here the cause and the effect are close and
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       immediate; when the inhabitants of a particular house are
       rendered sick; when the rental value of the residence is
       immediately and proximately due to a special and particular
       cause close at hand, and when that cause is produced by a
       violation of law or the maintenance of something contrary to law,
       or which in its nature works hurt to those near by—a cause of
       action arises in favor of the injured party against the maintainer
       of the nuisance.

Id. at 280-81. An injured person does not “lose this right because others in the

vicinity have similar causes of action. To hold otherwise would be to render the

defendant liable for one injury, and hold him harmless where many were

damaged.” Id. at 281 (“No matter how numerous the persons may be who have

sustained this peculiar damage, each is entitled to compensation for his

injury.”) (citation omitted).

       Relying on Savannah, Florida & Western Railway Co., the Johnson

court held that the plaintiff sufficiently pleaded special harm arising out of

PFAS contamination to his and the putative class members’ drinking water.

2021 WL 4745421, at *62-63. The court specifically differentiated between the

allegations of harm to the general public and the allegations of harm to the

putative class members.

       [T]he general public harm involves the contamination of the
       Conasauga, Oostanaula, and Coosa Rivers and the interference
       with the use and enjoyment of those waters, including the
       provision of safe drinking water. But the putative class members
       have experienced special harm in the particular harm of having
       to pay the added costs of attempting to remove the PFAS
       contamination by way of increased rates and surcharges they
       incur as ratepayers.

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Id. at *62 (quotation marks and citation omitted). The court also found support

in federal case law in Georgia and Alabama recognizing that “environmental

cleanup costs qualify as special pecuniary damages conferring standing to

maintain a public nuisance claim arising out of environmental contamination.”

Id. at *63 (quoting Briggs & Stratton Corp. v. Concrete Sales & Servs., 29 F.

Supp. 2d 1372, 1376 (M.D. Ga. 1998)) (citing West Morgan-East Lawrence

Water & Sewer Auth. v. 3M Co., 208 F. Supp. 3d 1227 (N.D. Ala. 2016)).

      As in Johnson, the Plaintiff here alleges that the PFAS contamination

caused by the Defendants “has unreasonably interfered with, and continues to

interfere with, a right common to the general public—the use and enjoyment

of Raccoon Creek and downstream waters, including the Chattooga River and

Weiss Lake[.]” (Am. Compl. ¶ 199; see also id. ¶¶ 200, 207-08.) Further, the

Plaintiff and the Proposed Class Members have allegedly suffered special

damages in the form of: “(1) the diminished value of their properties; (2)

interference with their use and enjoyment of their properties; (3) upset,

annoyance and inconvenience; (4) increased rates and surcharges as

Summerville ratepayers; and (5) costs incurred to obtain alternate potable

water supplies.” (Id. ¶ 202.) These real and personal property damages give

rise to a private cause of action for public nuisance—regardless of the

Plaintiff’s request to have this case certified as a class action. Johnson, 2021

WL 4745421, at *63 (finding “plaintiffs can show special damages even where

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they represent a class of thousands”). Therefore, the Court denies the

Manufacturing Defendants’, Mount Vernon’s, Trion’s, and Jarrett’s Motions to

Dismiss Counts Nine and Ten for lack of special damages.

             b. Control over the Cause of the Harm

      Next, the Manufacturing Defendants contend that they are not liable for

the alleged nuisance because they lack control over Mount Vernon’s

wastewater discharges and Trion’s disposal operations. (E.g., 3M’s Br. in Supp.

of 3M’s Mot. to Dismiss, at 23.) Mount Vernon similarly argues that it has no

control over PFAS disposal after it discharges wastewater into the Trion

WPCP. (Mount Vernon’s Br. in Supp. of Mount Vernon’s Mot. to Dismiss, at

23.) Under Georgia law, “[t]he essential element of nuisance is control over the

cause of the harm. The tortfeasor must be either the cause or a concurrent

cause of the creation, continuance, or maintenance of the nuisance.” Grinold v.

Farist, 284 Ga. App. 120, 122 (2007) (citation omitted). According to the

Plaintiff, the Manufacturing Defendants and Mount Vernon exercised

sufficient control by continuously distributing, using, and discarding PFAS

with knowledge that the PFAS was creating a public nuisance. (Pl.’s Br. in

Opp’n to 3M’s Mot. to Dismiss, at 20.)

      A defendant need not own the cause of a nuisance to have control over

it. Sanders v. Henry Cnty., Ga., 484 F. App’x 395, 400 (11th Cir. 2012) (“While

ownership of property generally may give rise to a nuisance when property is

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used to cause harm to others, such ownership is not an essential element of the

cause of action for nuisance.”); Bailey v. Annistown Rd. Baptist Church, Inc.,

301 Ga. App. 677, 688 (2009) (“[I]t is control, not ownership, of the relevant

property that is at issue[.]”). Nor must a defendant create a nuisance to be

liable for continuing or maintaining it. Bailey, 301 Ga. App. at 688 (“[L]iability

for a nuisance arises out of responsibility for the continuance or maintenance

of a nuisance in addition to the creation of one[.]”). Still, “some Georgia courts

have emphasized that, in the case of a continuing nuisance, to be liable, the

defendant must at least have a ‘legal right’ to terminate the cause of the

injury.” Johnson, 2021 WL 4745421, at *59. In sum, where a defendant has

knowledge of and a right to abate a dangerous situation, but he fails to do so

within a reasonable time, his actions or omissions may constitute a nuisance.

Id.; Horton v. City of Macon, 144 Ga. App. 380, 382 (1977) (“Knowledge of a

dangerous situation created by a defect and failure to repair the defect within

a reasonable time would amount to a nuisance.”)

      For example, in Fielder v. Rice Construction Co., Inc., 239 Ga. App. 362

(1999), homeowners sued a county health department for creating, continuing,

and maintaining a nuisance when raw sewage constantly seeped from a

county-approved septic tank on their property. Id. at 365. The health

department argued that its conduct did not constitute a nuisance since it did

not own or control the plaintiff’s property, but the Georgia Court of Appeals

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disagreed, finding that the health department had control over whether to

approve the lot for septic tank use and to compel the developer to install

abatement measures. Id. at 366-67. First, the court emphasized that the health

department not only approved the septic tank but also waived soil inspection

requirements designed to prevent the problem. Id. at 364. Therefore, it “knew

of the probable potential problem but yielded to pressure to allow substandard

septic tanks conditions to be approved nonetheless.” Id. Second, when put on

actual notice of the septic tank problem, the health department “refused to

require [the developer] to take the appropriate steps necessary to abate the

nuisance.” Id. at 365.

      Notwithstanding Fielder, the Manufacturing Defendants argue that

“[t]here can be no claim for nuisance against manufacturers whose products

allegedly cause harm after they left the manufacturers’ control.” (3M’s Br. in

Supp. of 3M’s Mot. to Dismiss, at 21.) However, their cited authorities do not

support such an expansive liability shield for manufacturers and, in any event,

are distinguishable from the facts of this case. In Corporation of Mercer

University v. National Gypsum Co., 1986 WL 12447, at *1 (M.D. Ga. Mar. 9,

1986), Mercer University filed a nuisance action against the manufacturers of

asbestos-containing products that had to be removed from university buildings

due to health concerns. The court dismissed the nuisance claim on the grounds

that the manufacturers had no legal right to abate the asbestos problem by

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forcing repairs or replacements on the plaintiff’s property. Id. at *6. In Jordan

v. Southern Wood Piedmont Co., 805 F. Supp. 1575, 1577 (S.D. Ga. 1992),

landowners whose properties were contaminated with a pesticide called penta

sued a nearby wood treatment plant and its penta supplier Dow Chemical. The

court granted summary judgment to Dow on the plaintiffs’ nuisance claim,

concluding that it was not associated with the plant’s handling and disposal

activities. Id. at 1582. Discovery revealed that Dow had sold only one penta

shipment to the wood treatment plant, id. at 1579 n.7, and had never given the

plant advice, solicited or otherwise, concerning PFAS disposal. Id. at 1580.

      As in Fielder, and in contrast to Mercer University and Jordan, the

Plaintiff here alleges that the Manufacturing Defendants and Mount Vernon

have exercised control over the cause or a concurrent cause of the nuisance.

According to the Complaint, the Manufacturing Defendants have for decades

sold PFAS to Mount Vernon “without adequate warnings of their dangers when

they knew or should have known [the PFAS] would be improperly disposed of

and discharged into the Trion WPCP.” (Am. Compl. ¶ 54; see also id. ¶¶ 60-61,

197.) Similarly, the Plaintiff alleges that Mount Vernon has discharged

wastewater containing PFAS into the Trion WPCP in a manner that it knew

or should have known would result in environmental contamination. (Id. ¶¶

35, 70-71, 198.) The Manufacturing Defendants and Mount Vernon could thus

be liable, at a minimum, for continuing or maintaining the nuisance given that

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they have a legal right to abate the PFAS pollution but have failed to take

appropriate remedial steps in the Plaintiff’s view. For example, as the Johnson

court proposed, the Manufacturing Defendants could refuse to sell PFAS

except to customers that have established and complied with proper disposal

methods, while Mount Vernon could find alternative means to dispose of its

wastewater or eliminate the use of PFAS in its mill altogether. 2021 WL

4745421, at *61, *65. For these reasons, the Court denies the Manufacturing

Defendants’ and Mount Vernon’s Motions to Dismiss on the grounds that they

have no control over the cause of harm.

C. Summerville’s Motion to Intervene

      Summerville moves to intervene as a plaintiff in this action pursuant to

Federal Rule of Civil Procedure 24(a)(2), which provides:

      On timely motion, the court must permit anyone to intervene who
      . . . claims an interest relating to the property or transaction that
      is the subject of the action, and is so situated that disposing of the
      action may as a practical matter impair or impede the movant’s
      ability to protect its interest, unless existing parties adequately
      represent that interest.

(Summerville’s Br. in Supp. of Summerville’s Mot. to Intervene, at 3.) None of

the existing Parties oppose Summerville’s intervention request on substantive

grounds. Mount Vernon filed a response to the Motion to Intervene arguing

that intervention “appears premature until this Court first determines

whether any aspect of [the] Plaintiff’s lawsuit will survive.” (Mount Vernon’s

Br. in Opp’n to Summerville’s Mot. to Dismiss, at 2-3.) Mount Vernon further
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proposed that the Court either deny the Motion to Intervene without prejudice

or defer a ruling pending the resolution of the Defendants’ Motions to Dismiss.

(Id. at 5.) Accordingly, because all of the Plaintiff’s claims have survived

dismissal at least in part, the Court grants Summerville’s Motion to

Intervene.17

                             IV.   Conclusion

      For the foregoing reasons, the Court GRANTS Proposed Intervenor-

Plaintiff City of Summerville’s Amended Motion to Intervene [Doc. 84],

DENIES Defendant Daikin America, Inc.’s Motion to Dismiss [Doc. 86],

GRANTS in part and DENIES in part Defendant Mount Vernon Mills, Inc.’s

Motion to Dismiss [Doc. 87], DENIES Defendant Ryan Dejuan Jarrett’s Motion

to Dismiss [Doc. 88], DENIES Defendant 3M Company’s Motion to Dismiss

[Doc. 89], DENIES Defendant Town of Trion’s Motion to Dismiss [Doc. 90],

DENIES Defendant Huntsman International, LLC’s Motion to Dismiss [Doc.



      17   3M and Daikin submitted a Motion to Strike Summerville’s
“procedurally and substantively improper” reply brief in support of its Motion
to Strike. (3M & Daikin’s Br. in Supp. of 3M & Daikin’s Mot. to Strike, at 1.)
However, “a motion to strike is not the proper vehicle for challenging matters
not contained in pleadings, which [Federal Rule of Civil Procedure] 7(a) defines
to include complaints, answers, and court-ordered replies to answers, but not
briefs or supporting exhibits.” Chavez v. Credit Nation Auto Sales, Inc., 966 F.
Supp. 2d 1335, 1344 (N.D. Ga. 2013). The Court thus denies the Motion to
Strike. To the extent Summerville’s brief violates the Local Rules or makes
improper arguments, the Court may exercise its discretion to decline to
consider it. LR 7.1(F), NDGa.

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91], DENIES Defendant Pulcra Chemicals, LLC’s Motion to Dismiss [Doc. 92],

DENIES as moot the Plaintiff’s Motion for Leave to File Sur-Reply [Doc. 114],

and DENIES Defendant 3M Company and Daikin America, Inc.’s Motion to

Strike [Doc. 128].


      SO ORDERED, this       30th      day of March, 2022.




                                            ______________________________
                                            THOMAS W. THRASH, JR.
                                            United States District Judge




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